Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20

- EXHIBIT 1

Page 1

of 89 PagelD# 200

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 2 of 89 PagelD# 201

VIRGINIA DEPARTMENT OF CORRECTIONS Effective Date: November 1, 2018
Institutional Property Matrix - Males Operating Procedure 802.1 Attachment 2

Institutional Property Matrix - Males

RH=Restrictive Housing Unit, Step Down 1, Step Down 2; SHU=Special Housing
Unit; JI=Jail Intake

Item Description wi | 2 | 3 | 4 | 5 | 6 | §S [RHVSHU! OT
State Issue - Minimum State Issue

Identification Card 1 1 1 1 l 1 1 I

Shirt Outside Workers, Orange Collar 3 3 3 3 3 3
Pants Outside Workers, Orange Stripe 3 3 3 3 3 3
Shoes, pair Work, low quarter, or canvas 1 1 1 1 l 1 1 ] 1
Undershorts White 3 3 3 3 3 3
Undershirts/T-shirts White/ Orange 3 3 3 3 3

Socks White 3 3 3 3 3 1 1 1 3
Cap Facility option 1 1 1 1 1 1 1 0 1
Jacket or coat Seasonal l 1 1 1 1 1
Long underwear White, Facility option 2 2 2 2 2 1 1 2
Belt Facility option 1 1 1 1 l 0 0 0 1
Clothing Jump suit or scrubs 1 l 1
Underwear Shorts or long, Facility option 1 1 1

Shower shoes 1 1 i

Jacket Outdoor exercise only, seasonal 1 1 1

Security toothbrush 1 1. 1

Security writing pen 1 1 1

Security razor Issued during shaving only 1 1 1

Linens and Blankets - Minimum State Issue

Mattress 1 1 1 1 ] 1 1 1 1
Pillow l -1- 1 1 1 1 1 1 1
Sheets White 2 2 2 2 2 2 2 2 2
Pillow case White 1 1 1 I 1 1 1 1 1
Bath towel White 1 1 t t t 1 I I T
Wash cloth White 1 1 1 1 1 1 1 1 l
Hand towel White, Facility option 1 1 1 1 0 0 0 0 1
Blanket Second blanket Facility option 1 1 1 1 1 1 ] 1 1
Laundry bag l 1 1 | 1 1 1 0 1
Commissary bag Facility option 1 1 1 1 1 1 1 0 I
Arts/ Crafts Items

(RNs eee eee eee eee eeeee reece reece eens eee ee eee eee eeeeeee ee eeeeeee eee eee rere eee a aaa aa ea aaa
lof8 Revision Date: 6/1819

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EXHIBIT 2

Page 3

of 89 PagelD# 202

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 4 of 89 PagelD# 203

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DEPARTMENT OF CORRECTIONS “| Negular Sorievance 866_F1_4-17
SO SSS SS SsSSSSSSSRSEGGSSSGGGG
REGULAR GRIEVANCE
Log Number:
Aowe Mark Heya | BHT
Last Name, First ’ Number Building Cell/Bed Number
Ar Theotas aut Osborave / F-F- 20120
Individuals Involved in Incident Date/ Time of Incident

WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Tpformal Complaint response or

other documentation of informal process.) AT Thomas : 2 3 PLE Frege a i ECR
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What action do you want taken? xX ay net— t— sach- ~e Si few * ¢orrec ve.

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Grievant’s Signature: Why bac RECLIVED Date: 5 J-2 Oo 2g)
Warden/Superintendent ffi besay AR $3808

Date Received: 3210-29
Baskersese iavievance

Revision Date: 4/28/17

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 5
VIRGINIA

DEPARTMENT OF CORRECTIONS

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Sd

of 89 PagelD# 204

Regular Grievance 866_F1_4-17

INSTRUCTIONS FOR FILING: You are required per Operating Procedure 866.1 Offender Grievance Procedure to attempt to resolve

your complaint in good faith prior to filing a regular grievance. You must submit your grievance
occurrence or discovery of incident. Only one-jggiie per grievance will be addressed. Write your issue
grievance form, preferably in ink. Regular gri€vances are submitted through the institutional mail to tl
receipt issued within 2 working days from received date if the grievance is not retumed during intake.

within 30 days from the date of
only in the space provided on the
he facility Grievance Office and a

INTAKE: Grievances should be accepted for. logging unless returned for the following

reason(s):

Non-Grievable. This issue has been defined as non-grievable in accordance with Operating

["] Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or procedural
Operating Procedure 861.1, Offender Discipline.

[_] Matters beyond the control of the Department of Corrections

Procedure 866.1.

errors under the provisions in

Does not affect you personally (This issue did not cause you personal loss or harm)

Limited. You have been limited by the Warden/Superintendent

More than one issue — resubmit with only one issue

Expired Filing Period. Grievances are to be filed within 30 calendar days from date of occ
the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where a
been established in Operating Procedures to prevent loss of remedy or the issue from becom}

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ence/incident, or discovery of

more restrictive time frame has
Ing moot.

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Repetitive. This issue has been grieved previously in Grievance #

Inquiry on behalf of other offenders.

Group Complaints or Petitions. Grievances are to be submitted by individuals.

Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE
PROCEDURE 861.1 OFFENDER DISCIPLINE

WITH OPERATING

Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals

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Grievances Filed Regarding Another Institution. This grievance is being returned to you for

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you to submit to:

Informa] Procedure. You have not used the informal process to resolve your complaint

Request for services

Insufficient Information (Not to include Medical). You need to provide the following inform

ation to the Grievance Office

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within 5 days before the grievance can be processed:

CO The issue in the grievance is different from the issue in the informal complaint

Date:

Institutional OmbudspratiGrlovance Coordinator. >

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If you disagree with this decision, you have 5 calendar days from datetof receipt
Ombudsman for a review of the intake decision. The Regional Ombudsman’s decision is fi

to submit to the Regional
inal.

Regional Review of Intake (within 5 working days of receipt) °

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Ol The intake decision is being upheld in accordance with Operating Procedure 866.1 Offerider Grievance Procedure.
Cl The intake decision is being returned to you because the 5 day time limit for review has been|exceeded.
oO The grievance meets the criteria for intake and is being returned to the Warden/Superintendent for logging.
Regional Ombudsman: Date:
WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that by withdrawing this grievance,
there will be no further action on this issue nor will I be able to file any other grievance in the future on this issue.
Offender Signature: Date:
Staff Witness: Date:

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DEPARTMENT OF CORRECTIONS _

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Regular Grievance 866_Fl_4-17

REGULAR GRIEVANCE

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Last Name, First . Number Building Cell/Bed Number
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inaivinetg Involved in Incident Date/ Time of Incident

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WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Informal Complaint response or.
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other documentation of informal process.) bad Aver i CU the PLES FS eG heats amy / fee
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Grievant’s Signature: uf i RECEIVED Date: . 3  } AO
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Warden/Superintendent’s Office: | fi Maveay

Date Received: 3-1-2y > : : “nk | b ald

Revision Date: 1/28/17

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DEPARTMENT OF CORRECTIONS

occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your iss only in the space provided on the

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 7|of 89 PagelD# 206

Regular Grievance 866_F1_4-17

grievance form, preferably in ink. Regular grievances are submitted through the institutional mail to |the facility Grievance Office and a

receipt issued within 2 working days from received date if the grievance is not returned during intake.

INTAKE: Grievances should be accepted for logging unless returned for the following reason(s):

Operating Procedure 861.1, Offender Discipline.
[_] Matters beyond the control of the Department of Corrections

Non-Grievable. This issue has been defined as non-grievable in accordance with Operating Procedure 866.1.
[J Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or procedural errors under the provisions in

Does not affect you personally (This issue did not cause you personal loss or harm)

Limited. You have been limited by the Warden/Superintendent

More than one issue ~ resubmit with only one issue

Expired Filing Period. Grievances are to be filed within 30 calendar days from date of occurrence/incident, or discovery of
the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where 4 more restrictive time frame has -
been established in Operating Procedures to prevent loss of remedy or the issue from beco ing moot.

Repetitive. This issue has been grieved previously in Grievance #

Inquiry on behalf of other offenders.

Group Complaints or Petitions. Grievances are to be submitted by individuals.

PROCEDURE 861.1 OFFENDER DISCIPLINE

Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals.

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Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE WITH OPERATISS
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Grievances Filed Regarding Another Institution. This grievance is being returned to you fo} you to submit to

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Informal Procedure. You have not used the informal process to resolve your complaint

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Request for services

Insufficient Information (Not to include Medical). You need to provide the following information to the Grievance Office

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within 5 days before the grievance can be processed:

CJ The issue in the grievance is different from the issue in the informal complaint

Institutional Ombudspian/Grievance Coordinator: » LA igh Date} _. Sf APA
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If you disagree with this decision, you have 5 calendar days from date of receipt|to submit to the Regional

Ombudsman for a review of the intake decision. The Regional Ombudsman’s decision is final.

Regional Review of Intake (within 5 working days of receipt)

oO Lf The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender Grievance Procedure.

[Y | The intake decision‘is being returned to you because the 5 day time limit for review has been exceeded.

Cj The grievance meets the criteria for intake and is being returned to the Warden/Superintendeht for logging.

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Date:

Regional Ombudsman: . >

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WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that by withdrawing this grievance,
there will be no further action on this issue nor will I be able to file any other grievance in the future on hs issue.

Offender Signature: | Date:

Staff Witness: Date:

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ARTMENT OF CORRECTIONS —_
Informal Complaint

INSTRUCTIONS FOR FILIN G; Briefly
“preferably in ink Only one issue per Informal Complaint. Place your complaint in the
facility. A receipt is issued within 2 working days from. the date

during intake. If no response is received within 15 calendar days,

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write your issue in the space provided on the Informal Complaint form,
designated area at your-
bived if the informal complaint is not retumed-

. You may utilize your receipt as evidence of your attempt to resolve your
An Informal Complaint i is not required for an alleged incident of sexual abuse.

complaint, .

may proceed in filing a regular grievance,

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Me cle LoxpR_ (4 571 C2 -Z-
Offender , Offender Number Housing .
’ FE panp “oes —2G423
Tadividuals Involved in Incident Datel Time of Incident
[_] Unit Manager/Supervisor - [-) Food Service 0 Institutio:
LJ Personal Property - (-] Commissary Mailroo

[_] Medical Administrator

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Offender Signature

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“WITHDRAWAL OF INFORMAL COMPLAINT: ,
I wish to voluntarily withdraw this Informal Complaint I understand that by withdrawing this Informal Complaint,
I willnot receive 4 Tesponge nor twill Ibe able to file formal 1 Complaint or Grievance | on thisi issue.
Offender Signature: . RECEIVED " _ Date:

Staff Witness Signature: Date:

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Case 3:20-cv-00390-HEH-EWH Document 27-2 “Filed 12/28/20 Page 9|of 89 PagelD# 208

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EXHIBIT 3

Page 10

of 89 PagelD# 209

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20, Page 8 89 PagelD# 210

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en Regular Grievance 966_FI_1-13

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WHAT IS YOUR COMPLAINT? (Provide information from the informal Process: Attach Informal Complaint response or other
documentation of informal process.) Fhe: Cf S 712 fs Lh i strat 116 Fert £: “e 774 ue Sep So

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INSTRUCTIONS FOR FILING: You are required per Operatin
your complaint in good faith prior to filing a nC
occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your issue
guievance form, preferably in ink, Regular grievances are submitted through the institutional mail to
and a receipt issued within 2 working days from received date if the grievance is not returned during in

DEPARTMENT OF CORRECTIONS

regular grievance. You must submit your grievance

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lar Grievance 366.511-13

ng Procedure 866,1 Offender Grievance Procedure to attempt to resolve
ithin 30 days from the date of
nly in the space provided on the
Warden/Supetintendent’s office

INTAKE: Grievances should be accepted for logging unless returned for the following

reason(s):

Non-Grievable. This issue has been defined as non-grievable in accordance with Operating Procedure 866.1.

for a review of the intake decision. The Regional Ombudsman’s decision is

- 1 , :[_] Disciplinary Procedure, . You may appeal hearing decisions, penalties, and/or procedural errors under the provisions in ..
Operating Procedure 861.1, Offender Discipline. .
__-_..|, C1 Matters beyond the contro] of the Department of Correctiong ia
C] Does not affect you personally (This issue did not cause you personal loss or harm),
[) © | Limited: You have béen limited by the Warden/Superintendent
_ £1 . | More than one issue—resubmit withonly oneissue st - . .
“ Expired Filing Period. Grievances are to be filed within 30 calendar days from date of ce/incident, or discovery of
~~ the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where a more restrictive time frame has
" been established in Operating Procedures to prevent loss of remedy or the issue from becoming moot.
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[] | Inquiry on behalf of other offenders.
(J | Group Complaints or Petitions. Grievances are to be submitted by individuals. a
o- Vulgar/Insolent or Threatenmimg Language. YOU MAY BE CHARGED IN ACCORDANCE |WITH OPERATING Ny . =
PROCEDURE 861.1 OFFENDER DISCIPLINE ., pe OS
oO Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals. Cy ” oS E
_ [] _| Grievances Filed Regarding Another Institution. This grievance is being returned to you for you to submit to: ly B g
Mw Informal Procedure. You have not used the informal process to resolve your complaint 4
CO Request for services
. .  . | Insufficient Information. You need to provide the following: information to the Grievance Office within 5 days before the
C] grievance can be processed: oe
oan . 7 —_— ere Reem tare nearer nee —
[] ..| The issue in the grievance is different from the issue in the informal complaint Las .
Instinutional Ombudsmaf/Griewance Coordinator: ) xP ccap— Date:| LAF ORD
I€ you disagree with this decision, you have 5 calendar days from date of receipt to submit to the Regional

Regional/Review of Intake (within 5 working days of receipt)

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‘| The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender Grievance Procedure.

The intake decision is being retamed to you because the 5 day time limit for review has been exceeded.

The grievance meets the criteria for intake and is being retumed to the Warden/Superintendent for logging.

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ee Melt VE 2 |e:

Date: |

WETHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that by
there will be no further action on this issue nor will Lbe able to file any other grievance in.the future on this

C.,nder Signature:
Staff Wimess: .e : Hoe et

Date:

7 withdrawing this grievance,

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ORRECTIONS ‘Infonnal Complaint 866.83 4:97"

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inatviduals involved in fncident Led =2Hh g
oS Date/ Tithe of incident >
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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 16 of 89 PagelD# 215 .

EXHIBIT 4

se 3:20-cv-0Q700-HIEH-EWH Document 27-2 Filed 12/28/20 Page 17

of 89 PagelD# 216

DEPARTMENT OF CORRECTIONS Regular Grievance 866 FI 1-13
REGULAR GRIEVANCE
Log Number:
Lave Mick [49/62 . f 3A ~ 7 Z
Last Name First ‘Number Building Cell/Bed Number

{ ‘Cofer VF lad,

WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Informal Complaint response or other

documentation of informal process.)

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What action do you want taken?

Grievant’s Signature:

Date:

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__ Date Received:

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‘Warden/Superintendent’s Office:

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Revision Date: ian

-2W-cv-00390-HEFRGIM ~Document.27-2 Filed 12/28/20 Page 18|of 89 PageID# en?
‘Sd/ “DEPARTMENT OF CORRECTIONS.

the designated area at ‘your
complaint is not rehired.
in filing a tegular grievance,

on Complaint form,

ct Lave wm hE ILEZ _ fA -*7
ame der Numb: Housing Assi 7
okrernlle Aba instonte. -— / Lecembre 2 1204
~ Individuals Involved in incident to, Date/ Tink of Incident Z
r] Unit Managey/Supervisor [7] Food Service [; ] Institutional Program Manager
[7] Personal Property , Commissary . | Assit? [1] Maittoom . .
CT Medical Administrator Other (Please Specify): tren -
Briefly explain the nature of your complaint (be specific): ,

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. _ Offender Signature

Date Received: [2]
' Response Due: _ 1} 11 20

Action Taken/Resporse!

WITHDRAWAL OF INFORMAL COMPLAINT:
Withdraw this Informal i

I wish to voluntarily

I will not receive a@ response nor will Ihe
i ay

Staff Witness Signature:

_ | Baskerville Grievancel-
_| __ Department

Revision Date: 4/28/17

BAS -20-cv- -HEH-EWH Document 27-2 Filed 12/28/20 Page 19
S¢ DEPARTMENTOF CORRECTIONS

rking days from received date if the grievance is not retumed during in

of 89 PagelD# 218

Regular Grievance 866_F1_1-13

c.

INTAKE: Grievances should be accepted for logging unless

returned for the following reason(s):

een

- Non-Grievable. This issue has been defined as non-grievable in accordance with Operating |Procedure 866.1. |
o -f] Disciplinary Procedure. , You may appeal hearing decisions, penalties, and/or procedural errors under the provisions in ..
Operating Procedure 861.1, Offender Discipline. . :
J fad.. C Matters beyond the control of the Department of Corrections a So
Ww Does not affect you personally (This issue did not cause you personal loss or harm)
[] ~ | Limited: You have béen limited by the Warden/Superintendent
-. 7 More than one issue — resubmit with only one issue .
_ | -Expifed Filing Period. “Grievances are to be filed-within 30 calendar days from date of occurence/incident, or discovery of _
.. Oo the occurrence/incident except in instances: 1) beyond the offender's control or, 2) where a more restrictive time frame has
been established in Operating Procedures to prevent loss of remedy or the issue from becoming moot.
[] + Repetitive. This issue has been ‘gtieved previously in Grievance # - . .
CO Inquiry on behalf of other offenders.
CO | Group Complaints or Petitions. Grievances are to be submitted by individuals.
_ o- Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE WITH OPERATING
PROCEDURE 861.1 OFFENDER DISCIPLINE .,
C] Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals, QS - &
- oO Grievances Filed Regarding Another Institution. This gtievance is being returned to you for you to submit bay &} g ce
. tee, es £56
Le =, Oy > =
CJ Informal Procedure. You have not used the informal process to resolve your complaint Ly - Ow
Cl Request for services Jom & £
- +. | Insufficient Information. You need to provide the following information to the Grievance Office within Aydays Béforedhg?
O  Srievance can be processed: : ee Conta Dee 3]
oe 4 . -
Cc] The issue in the grievance is different from the issue in the informal complaint tee
Institutional Ombu Date:| /A—-3/-) g

If you disagrees isi ou have 5 calendar days from date of receipt

i to submit to the Regional
Ombudsman for a review of the intake decision. The Regional Ombudsman’s decision is final.

Regiongl Review of Intake (within 5 working days of receipt)

Lf

The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender G

rievance Procedure.

O

The intake decision is being retumed to you because the 5 day time limit for review has been exceeded.

Cc The grievance meets the criteria for intake and is being retumed to the Warden/S

for logging. _

Reyiona Ombudsman: > (}ige- |), 0

uperintendent

Date:

2/tolsoae

WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that

by| withdrawing this grievance,

there will be no further action on this issue nor will Lhe able to file any other grievance in-the future on this issue.

Offender Signature:

Date:

“Sor

Staff Witness: Coa th oa oye

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 20

EXHIBIT 5

of 89 PagelD# 219
Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 21/of 89 PagelD# 220

VIRGINIA Inform
DEPARTMENT OF CORRECTIONS

al Complaint 866_F24-17 -

Informal Complaint
INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the Informal Complaint form,
preferably in ink. Only one issue per Informal Complaint. Place your complaint in the|designated area at your
facility. A receipt is issued within 2 working days from the date received if the informal complaint is not retumed
during intake. If no response is received within 15 calendar days, you may proceed in filing a regular grievance.
You may utilize your receipt as evidence of your attempt to resolve your complaint.
An Informal Complaint is not required for an alleged incident of sexual abuse.

fiek Lee LY4 PVE 6 H\-F_
Offender Name Offender Number Housing Assignment. _.
titi y ~2C?
Individuals Involved in incident Datef Time of {Incident
Fyunit Manager/Supervisor ["] Food Service (_] Institutional Program Manager
/ (_] Personal Property [_] Commissary ul Mailroom
{| Medical Administrator {] Other (Please Specify):

Briefly explain the nature of your complaint (be specific): -

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Offenders - Do Not Write Below This Line

Action Taken/E

Respondent Signature Printed Name and Title Date

WITHDRAWAL OF INFORMAL COMPLAINT:
I wish to voluntarily withdraw this Informal Complaint. I understand that by withdrawing this Informal Complaint -

I will not receive a response nor will I be able to file any other Informal Complaint or Grieve’ pt Bons
. 3 Pa ht oS Ae FL 4. # 2
Offender Signature: _f WL Date: _ 2722-6 : :

Staff Witness Signature:

Date: wy if:

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 23 of 89 PagelD# 222

VIRGINIA
DEPARTMENT OF CORRECTIONS
Informal Complaint
INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the Informal Complaint form,

preferably in ink. Only 3
facility. A receipt is issued within 2 working days from the date received if the
during intake. If no response is received within 15 calendar days, you may proceed in
You may utilize your receipt as evidence of your attempt to resolve your complaint.

Informal Complaint 866_F2_4-17

one issue per Informal Complaint. Place your complaint in the designated area at your
informal complaint is not returned

ing a regular grievance.

An Informal Complaint is not required for an alleged incident of sexual abuse.

Fak Loci’. [49H b2- SAL?
Offender Name Offender Number Housing Assignment. .
Pde 720)
Individuals Involved in Incident Date/ Time of Incident
dunt Manager/Supervisor ([] Food Service [] Institutional Program Manager
/{_] Personal Property [_] Commissary [_] Mailroo
[_] Medical Administrator ("] Other (Please Specify):

Briefly explain the nature of your complaint (be specific): ° ,
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Offender Signature Date i-{7 ze
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ResponséDue:__O1-¥- ORO Assigned to:_ “1/0. Robina =
Action Taken/Respozse: -:
Respondent Signature Printed Name aud Title Date
WITHDRAWAL OF INFORMAL COMPLAINT:
I wish to voluntarily withdraw this Informal Complaint. I understand that by withdrawin

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I will not receive a response nor will I be able to file any other Informa! Complaint or

Date:

this Informal Complaint

Offender Signature: pies f te

Staff Witness Signature:

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Date: | ay, 2

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 24
VIRGINIA
DEPARTMENT OF CORRECTIONS

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‘Last Name

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documentation of informal process.)

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WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Informal Complaint response or other

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EXHIBIT 6

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VIRGINIA
DEPARTMENT OF CORRECTIONS

28)of 89 PagelD# 227

r Request 801_F3_10-177 ... -.

Offender Request

DIRECT TONS
1. Fill in your Name, Number, Number, Full Housing Assignment 4. Requests may be returned un ered if addressed to
2. Please Print your request; KEEP IT BRIEF the wrong department or if duplicate requests are
3. Drop in the appropriate Mail Box sent.

YOUR LAST NAME FIRST Mi NUMBER BLDG/CELL

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j 4 a. ,
Lowe Mga th Ml \748¢lb2 |. 3A-T
WORK ASSIGNMENT ASSIGNED COUNSELOR TODAY’S DATE —
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Aten ee’
To: C] Unit Manager C] Medical []Personal Property {_] Law Library [] Security
(_] Treatment LJ Mental Health (1 Education [| Enterprise Shop| [| Accounting
CJ Warden: - [] Dental

[-] Chaplain / Assistant Warden
RyOther dk C53 £948 > 3 ef! fe, ~~
CHECK PURPOSE D Appointment Request _[_|Question/Statement
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RESPONSE

Request sent to correct department 1 Yes (-] No; Routeg to: —

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Offender seen Yes SPU LL

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Revision Date: 10/26/17

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/ DEPARTMENTOFCORRECTIONS _ . _ {Regular Grievance 26651_1-13

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ed 12/28/20 Page 29|of 89, PagelD# 228°

INSTRUCTIONS FOR FILING: You are required per Operating Procedure 866.1 Offender Griewanke Procedure to attempt to resolve
your complaint in good faith prior to filing a regular grievance. You must submit your grievance) within 30 days from the date of
occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your i only in the space provided on the
grievance form, preferably in ink. Regular grievances are submitted through the institutional mail to the Warden/Superintendent’s office
and a receipt issued within 2 working days from received date if the grievance is not returned during in .

INTAKE: Grievances should be accepted for logging unless returned for the following reason(s):

Non-Grievable. This issue has been defined as non-grievable in accordance with Operatin Procedure 866.1.

- ... ° | : [7] Disciplinary Procedure... You may appeal hearing decisions, penalties, and/or al errors under the provisions in ..
Operating Procedure 861.1, Offender Discipline. .

-_ |, [1 Matters beyond the control of the Department of Corrections

Does not affect you personally (This issue did not cause you personal Joss or harm)

Limited: You have been limited by the Warden/Supetintendent

More than one issue — resubmit with only one issue.

the occusrence/incident except in instances: 1) beyond the offender’s control or, 2) where a more restrictive time frame has

Expired Filing Period. Fe defame res ne a a
been established in Operating Procedures to prevent loss of remedy or the issue from becoming moot.

| Repetitive. This issue has been grieved previously in Grievance # - - -

Inquiry on behalf of other offenders.
‘Group Complaints or Petitions. Grievances are to be submitted by individuals. eB

Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE WITH OPERATING . =
PROCEDURE 861.1 OFFENDER DISCIPLINE . pe OS

Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals. ¢

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>
Grievances Filed Regarding Another Institation. This grievance is being returned to you fpr you to submit to: Lu B

Informal Procedure. You have not used the informal process to resolve your complaint &

Request for services

Insufficient Information. You need to provide the following: information to the Grievance Office within 5 days before the

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grievance can be processed: es =

Oo... The issue in the grievance is different from the issue in the informal complaint

Institutional Ombaisma/Grievance Coordinator: __) Prep pate: AP card

If you disagree with this decision, you have 5 calendar days from date of receipt to submit to the Regiona
sa for a review of the intake decision. The Regional Ombudsman’s decision js final.
Regional Review of Intake (within 5 working days of receipt)

fd . ‘The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender Grievance Procedure.
. The intake decision is being returned to you because the 5 day time limit for review has been exceeded.

.

C1
oO The grievance meets the criteria for intake and is being remmed to the Warden/Superintendent for logging.
ional

Regional Ombudsman: _ C2 c Sf Ywe-| (cS a= Date: oe | Le: AOZO

WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that by withdrawing this grievance,

there will be no forther action on this issue nor will Lbe able to file any other grievance in the future on this issue. -~

G,,,nder Signature:

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 30jof 89 PagelD# 229

VIRGINIA
DEPARTMENT OF CORRECTIONS

DIRECTIONS

. Fill in your Name, Number, Full Housing Assignment
2 Please Print Print your request; KEEP ir BRIEF

3. Drop in the n the appropriate Mail Box

Offender Request

ler Request 801_F3_10-17.

4. Requests may be returned ered if addressed to

the wrong department or if duplicate requests are

sent.

YOUR LAST NAME KIRST

Lowe. |_ Mk

MI NUMBER BLDG/CELL

Jt \VABPUbe2| |.BA-T

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WORK ASSIGNMENT ASSIGNED COUNSELOR TODAY’S DATE
Vs
To: [] Unit Manager ("| Medical (Personal Property [_] Law Library (j Security

(_} Treatment {_| Mental Health (] Education

[-j Chaplain [[} Assistant Warden Y (CD Warden -
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- [] Dental

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Date of Response

Revision Date: 10/26/17

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3 DEPARTMENT OF CORRECTIONS.

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of 89 PagelD# 230

. “Teformal Complaint 86653 417° .

- ‘Informal Complaint - - .
INSTRUCTIONS FOR FILING Briefly Write your issue in Hie space provided on the Informal Complaint form,
preferably in ink, Only one ise per Informal Complaint, Place your: complaint in the designated area at your
facility. A receipt is issied within 2 working days from the date received if the informal complaint is not rehired:
during intake. Ifno Tesponse is received within 15 calendar days, you mnay proceed |in filing a tegular Srisvance,
Yorfinay uillize you leveipt as svidence of your alteanpt to resulve your coplabt, | ,

An Info: Complaint ig mot required for an alleged incident of sextral abuse,
/ Saw Le Agia. LEE go TAT |
e7 jer Nuuber Housing | >
Leber Lcd -20f/[--) |
Individuals involved in Incident Datel The of Incident
r] Unit Manager/Superviaor [1 Food Service So |] Institutional Program Manager -.
Personal Property, Commissary Asst [J] Maitroom _
Medical Aduinistrator . Other (Please Specify): “" pL, 2) -
Buefly explain the nature of your complaint (be specific): ; :
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Offenders ~Do Not Write Bell This Line

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Response Due: __| W129
Action Taken/Response; i.
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VIRGINIA
DEPARTMENT OF CORRECTIONS

of 89 PagelD# 231

Regular Grievance 866_Fi_1-13

Last Name

Lowe hak Meter! 347 \ sg

Cell/Bed Number

WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Informal Complaint response or other
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documentation of informal process.) The The shtt fs Le hes “75 fo Hie ZL tha x A atatews

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‘Warden/Superintendent’s Office: Boing aad ee hee : :
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Wate Receivea:_/ ~2IDVO

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w= Revision Date: U/14/13

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 33

VIRGINIA

INSTRUCTIONS FOR FILING: You are required per Operating Procedure 866.1 Offender Grievance P
your complaint in good faith prior to filing a regular grievance. You must submit your grievance wii

occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your issue onh
grievance form, preferably in ink. Regular grievances are submitted through the institutional mail to the W

and a receipt issued within 2 working days from received date if the grievance is not returned during intake.

of 89 PagelD# 232

Grievance 866_F1_1-13

DEPARTMENT OF CORRECTIONS _ . vane

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hin 30 days from the date of
Y in the space provided on the
jarden/Superintendent’s office

INTAKE: Grievances should be accepted for logging unless returned for the following re

ason(s):

Non-Grievable. This issue bas been defined as non-grievable in accordance with Operating Pro

Operating Procedure 861.1, Offender Discipline.
Oo Matters beyond the control of the Department of Corrections

cedure 866.1.

-((] Disciplinary Procedure... You may appeal hearing decisions, penalties, and/or procedural errors under the he provisions i in ..

Does not affect you personally (This i issue did not cause you personal loss or harm)

Limited: You have been limited by the Warden/Supermtendent

More than one issue — resubmit with only one issue

Expired Filing Period. Grievances are to be filed within 30 calendar days from date of occurrer

been established in Operating Procedures to prevent loss of remedy or the issue from becoming

‘ce/incident, or discovery of

the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where a more restrictive time frame has.

moot.

-| Repetitive. This issue has been-grieved previously in Grievance # - - -

Inquiry on behalf of other offenders.

Group Complaints or Petitions. Grievances are to be submitted by individuals.

Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE W
PROCEDURE 861.1 OFFENDER DISCIPLINE

ITH OPERATING

Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals.

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Informal Procedure. You bave not used the informal process to resolve your complaint h és

Grievances Filed Regarding Another Institution. This grievance is being returned to you for yon to submit to:

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until 2-8-2020 |

Request for services tor

resprse pbs

Insufficient Information. You need to provide the following: information to the Grievance Offic

te within 5 days before the

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grievance can be processed:
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[1 ..| The issue in the grievan:

. rievance is different from the issue in the informal complaint
Institutional Ombudfien/ Grievance Coordinator,

Date:

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vance Coorinatos) x Seaal/—

If you disagree with this decision, you bave 5 calendar days from date of receipt
Ombudsman for a review ofthe intake decision. The Regional Ombudsman’s decision is

submit to the Regional

Regional Review of Intake (within 5 working days of receipt)

LI The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender Gr

tevance Procedure,

Ol

The intake decision is being retumed to you because the 5 day time limit for review has been ex

ceeded.

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The grievance meets the criteria for intake and is being returned to the Warden/Superintendent

for logging.

| Regional Ombudsman: Date:

WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that by withdrawing this grievance, —

& re will be no further action on this issue nor will L-be able to file any other grievance in.the future on this/i

Ortecser Signature: Date:

issue. ~~"

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Revision Date: 1/13/14

Case 82000890 ETE Document 27-2 Filed 12/28/20 Page 34 of 89 PagelD# 233

OR eX . us VIRGINIA vA,

\ecd/ _ DEF DEPARTMENT OF CORRECTIONS Regular Grievance 866_F1_417

"REGULAR GRIEVAN CE -

hese Mack . - PYG Ue z. BAT 3a

Last Name, First.” Number Building | . Cell/Bed Number
| /25-22

Date/ Time of Incident

individuals Tavolved in Incident o

WHAT 1s ‘your COMPLAINT?, @iovide information from the: informal process: "Attach formal: Complaint response or | |

other documentation of informal process.) hrask eet Ue be é Ze Evarat ! shades Au wt as, [Oe Sed
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What action do you want taken? lCaAsc€ ce ad wes i ft

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Grievant's Signature:

‘Warden/Superintendent’s Office:

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Date Received: [-2G-202R : Cant oo anmp 4
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Revision Date: (28/1 7

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VIRGINIA

DEPARTMENT OF CORRECTIONS’ egular Grievance 866_F1_4-17

INSTRUCTIONS FOR FILING: You are required per Operating Procedure 866.1 Offender Grievance Procedure to attempt to resolve
your complaint in good faith prior to filing a regular grievance. You must submit your grievance |within 30 days from the date of
‘ occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your issue|only in the space provided on the
grievance form, preferably in ink. Regular grievances are submitted through the institutional mail to the facility Grievance Office and a
receipt issued within 2 working days from received date if the grievance is not returned during intake.

INTAKE: Grievances should be accepted for logging unless returned for the following reason(s):

Non-Grievable. This issue has been defined as non-grievable in accordance with Operating) Procedure 866.1.

oO (J Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or procedural errors under the provisions in
Operating Procedure 861.1, Offender Discipline.

(] Matters beyond the control of the Department of Corrections

Does not affect you personally (This issue did not cause you personal loss or harm)
Limited. You have been limited by the Warden/Superintendent

More than one issue — resubmit with only one issue

Expired Filing Period. Grievances are to be filed within 30 calendar days from date of oveurTence/inc or discovery of
the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where amore restrictive time frame has -
been established in Operating Procedures to prevent loss of remedy or the issue from beconting moot.

Repetitive. This issue has been grieved previously in Grievance #

Inquiry on behalf of other offenders.

Group Complaints or Petitions. Grievances are to be submitted by individuals.

Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE WITH OPERATING
PROCEDURE 861.1 OFFENDER DISCIPLINE | ° ,

- Photocopy/Carbon Copy. You must submit the original grievance for responses and appealk.

Grievances Filed Regarding Another Institution. This grievance is being returned to you for you to submit to:

ae CorrplainT
Informal Procedure. You have not used the informal process to resolve your complaint b atts { A-&: dd
Request for services Ar (2s0un52.
Insufficient Information (Not to include Medical). You need to provide the following information to the Grievance Office

within 5 days before the grievance can be processed:

oa je) oO jo) 0 jojo oO jololo
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The issue in the grievance is different from the issue in the informal complaint So - a
{Institutional OmbugSiran/Grievance Coordinator. > 2 _ Date: __, / DF HPO
= ——S—— eee 7

if you disagree with this decision, you have 5 calendar days from date of receipt to submit to the Regional
Ombudsman for a review of the intake decision. The Regional Ombudsman’s decision is final.

Regional Review of Intake (within 5 working days of receipt)
C The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender Grievance Procedure,
CO The intake decision is being returned to you because the 5 day time limit for review has been exceeded. oo
C The grievance meets the criteria for intake and is being returned to the Warden/Superintendent for logging.

bee

Regional Ombudsman: Date:

WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that by withdrawing this grievance,
there will be no further action on this issue nor will I be able to file any other grievance in the future on this issue.

Offender Signature: Date:

Staff Witness: Date:

—— Inf9 . Revision Date: 4/28/17

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20

EXHIBIT 7

Page 34

S of 89 PagelD# 235
Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 37 of 89 PagelD# 236

VIRGINIA
DEPARTMENT OF CORRECTIONS

Informal Complaint
INSTRUCTIONS FOR
preferably: in ink. Only

You may utilize your receipt
An Informal Complaint is not required for an alleged incident of

Informs

Complaint 866_F3_4-17

FILING: Briefly write your issue in the space provided on the Informal Complaint form,
one issue per Informal Complaint. Place your complaint in the designated area at your
facility. A receipt is issued within 2 working days from the date received if the informal
during intake. If no response is received within 15 calendar days, you may proceed in fill
as evidence of your attempt to resolve your complaint.
sexual abuse.

complaint is not returned

ing a regular grievance.

Mack. Lowr. [442 ZA-Z
Offertder Name Offender Number Housing Assignment
Foca | fo270-20
Individuals Involved in Incident Date/ Time of C
(_] Unit Manager/Supervisor (_] Food Service [_] Institutional Program Manager
[_] Personal Property Commissary [_] Mailroom
[| Medical Administrator Other Please Specify: _ or 7-2
Briefly explain the nature of your co laint (be ye
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Respondent Si e Printed Néaie andTitle ar Date
WITHDRAWAL OF INFORMAL COMPLAINT:
I wish to voluntarily withdraw this Informal Complaint. I understand that by withdrawing this Informal Complaint,

I will not receive a response nor will I be ab

Offender Signature:
Staff Witness Signature:

Date:

le to file any other Informal Complaint or Grie

vance on-this issue.

Date:

Revision Date: 4/28/17

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EXHIBIT 8

age 38

of 89 PagelD# 237

Case 3:20-cv- 00390: HEH- EWH Document 27- 2 Filed 12/28/20 Page 39

- VIRGINIA 2°.
DEPARTMENT OF CORRECTIONS

of 89 PagelD# 238
egular Grievance 866_F1_4-17

“REGULAR GRIEVAN CE
oe wt a . Log Number:
age Parl, HEUCA_2H | 6
-Last Name; First." pte Number Building Cell/Bed Number
AES AEM
ee ar in BP Code Mju i. Date/ Time of _—

WHAT 18 YOUR COMPLAINT?. (Provide information from the: informal process: Attach In
other documentation of informal process.) On Apel 4 20 f Ey OMG: cer” Cy it

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formal Complaint response or

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What action do you want taken? —rh

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Grievant’s Signature: Date: Jt et F201 q
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‘Warden/Superintendent’s Office: 5 ze.
Date Received: 9-F- / F :

A Revision Date: 4228/1;

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 4|

VIRGINIA .
DEPARTMENT OF CORRECTIONS

INSTRUCTIONS FOR FILING: You are required per Operating Procedure 866.1 Offender Grievan
your complaint in good faith prior to filing a regular grievance. You must submit your grievance
occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your issue
grievance form, preferably in ink. Regular grievances are submitted through the institutional mail to ¢
receipt issued within 2 working days from received date if the grievance is not returned during intake.

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) of 89 PagelD# 239

Regular Grievance 866_F1_4-17

e Procedure to attempt to resolve
within 30 days from the date of
only in the space provided on the

he facility Grievance Office and a

INTAKE: Grievances should be accepted for logging unless returned for the following reason(s):

Non-Grievable. This issue has been defined as non-grievable in accordance with Operating Procedure 866.1.
0 (_] Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or procedural errors under the provisions in
Operating Procedure 861.1, Offender Discipline.
["] Matters beyond the control of the Department of Corrections
C Does not affect you personally (This issue did not cause you personal loss or harm)
Oo Limited. You have been limited by the Warden/Superintendent — -
Cl / More than one issue — resubmit with only one issue
Expired Filing Period. Grievances are to be filed within 30 calendar days from date of occurrence/incident, or discovery of
the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where ajmore restrictive time frame has
been established in Operating Procedures to prevent loss of remedy or the issue from becoming moot. o- 7 / G
oO Repetitive. This issue has been grieved previously in Grievance # Ve Ke~ 0 nx tO
O Inquiry on behalf of other offenders. =
Cj Group Complaints or Petitions. Grievances are to be submitted by individuals. QQ >
C)__ | Yulgaz/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE PERAT
PROCEDURE 861.1 OFFENDER DISCIPLINE '- — Ns“ oo
oO Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals. LL “ £3
q Grievances Filed Regarding Another Institution. This grievance is being returned to you fo you ‘fRom 2 E 8
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fe -~=—
oO Informal Procedure. You have not used the informal process to resolve your complaint E
_.(1 __| Request for services
——— nsufficient-Information-(Not-to-include Medical)._Youneed-to-provide the following information to the Grievance Office
O within 5 days before the grievance can be processed:
0 The issue in the grievance is-different from the issue in the informal complaint .
o™~
Institutional Ombudsm¢n/Grievance Coordinator: Date: G-G ~ [4
oo ve

If you disagree with this decision, you have 5 calendar days from date of receipt
Ombudsman for a review of the intake decision. The Regional Ombudsman’s decision is

to submit to the Regional
final.

Regional Review of Intake (within 5 working days of receipt)

0 The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender Grievance Procedure.
id The intake decision is being returned to you because the 5 day time limit for review has been exceeded.
0 The grievance meets the criteria for intake and is being retumed to the Warden/Superintendent for logging. ,

Regional Ombudsman: >. iY] be ~ ( wD Ue,

Date

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WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. | understand that

there will be no further action on this issue nor will I be able to file any other grievance in the future on fj

Offender Signature:

Staff Witness:

Date:

Datet

i 7
by withdrawing this grievance,
his issue.

2 of 2 Revision Date: 4/28/17
Case 820-00. 00890- HE A pt Reha, Filed. 12/28/20 Page 41

VIRGINIA DEPARTMENT OF CORRECTIONS

of 89 PagelD# 240

Effective Date: August 28,2019
Informal Complaint Operating Procedure 866.1 Attachment 3
informal Gomplaint
INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the Informal Complaint

form, preferably in ink. Only one issue per Informal Complaint. Place your complaint in the designated area
at your facility.A receipt is issued within 2 working days from the date received if the informal| complaint is not

returned during intake. If no response is received within 15 calendar days, you may proceed
grievance.
You may utilize your receipt as evidence of your attempt to resolve your complaint.

in filing a regular

Lowe, Mark M 1489162 HU3-A-06-T

Offender Name DOC# Housing Assignment
Unit Manager/Supervisor Food Service Treatment Program Supervisor
Personal Property Commissary Mailroom
Medical Administrator Other (Please Specify):

Briefly explain the nature of your complaint (be specific):

Capt. Marks

Offender complaining that the kitchen staff diabetic meals without problem.. On 4-7-19 Lt. Th
his need for food. Diabetic trays are beyond the scope for security. The staff acted immatur
offenders with a medical need.

Offender Signature: Date

Offenders - Do Not Write Below This Line

omas objected to
6 and harassed

Date Received: 04/10/2019

Grievance #: BACC-19-INF-00282

Response Due: Assigned to:

Action Taken/R

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Responde: It Signature

Date

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WITHDRAWAL OF INFORMAL GOMPLAINT:

| wish to voluntarily withdraw this Informal Compaint. | u a
Complaint,

| will not receive a response nor will | be able to file any other informal vED, or Greivan

SEP ? 9 209

Offender Signature: Date:
Ombudsiian Services Unit
Staff Witness Signature: Centr tral | Regien Date!

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20

EXHIBIT 9

Page 44

of 89 PagelD# 241

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20. |

EXHIBIT 10

Page 4g

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of 89 PagelD# 242 ~

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20

EXHIBIT 11

Page 44

1 of 89 PagelD# 243

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Informal Complaint

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daring intuke. Fino response is réceived within 15 calendar days, you inay proceed i WDE & repos: Erievence, 3
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Ax Informal Complaint is not required for an alleged incidént of sexual abuse.

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[Medial Admininrator —- R] Ofter (Please Spenity):. Wlarcfen - oe
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Offa: Signa = . . Date: . . .
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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 47 of 89 PagelD# 246

VIRGINIA DEPARTMENT OF CORRECTIONS VACORIS C - #.(

DOC Location: BACC Baskerville Correctional
Grievance Receipt Report Center

Report generated by Bugg, G E
Report run on 05/12/2020 at 12:10 PM

Grievance Number: BACC-20-INF-00369
Next Action Date: 5/27/2020 12:00:00 AM

On this date: 05/12/2020 | have received a statement from:
Baskerville Correctional Center
Lowe, Mark M 1489162|of |HU3-A-07-B
(Offender Name and DOC#) (Filed Location and Housing)

Setting out the following complaint:

Nurse Harris

Offender says after confronting Major Hamlette, 2 prescriptions were removed from! active status. The
prior head nurse at Deep Meadow was terminated for tampering with his medical rd. Please take
corrective action. The prescriptions were renewed at his last annual examination. |

(Signature)

Officer Initials:

Case 3:20-cv-00300-HAEF Mia see aeHayent “Tbe Filed Page 48 of 89 PagelD# 247

SUB FOR FIBERCON MFG-RUGBY
TAKE 2 TABLET(S} ORALLY ONCE pant yibs#2a7300523
AS NEEDED WITH 8-16 OZ OF WATER
HOP?

RX# 18007582 2 DC-04/132020

PRESCETEERSOALYEE
TANZOBLONG pe 349

Se1O.17 R09 BSH OIIZIN0 #00-00536-4306-65
BK- GASKERVILLE CORR CENTER
ABOTD PRARMACY SERVICES 648 KOUTER CIDIARA PA 15701
asnanzaaa7 FAX 700.823-6008 BO1759440 LAKE 148 a0
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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 4

VIRGINIA

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INSTRUCTIONS FOR Fi
preferably in ink. Only one issue per
facility. A receipt is issued within 2 working
during intake. If no response is received within 15 calendar days,
You may utilize your receipt as evidence of your attempt to resolve your complaint.
An Informal Complaint is not required for an alleged incident of sexual abuse.

D Of 89 PagelD# 248

formal Complaint form,
designated area at your
bmplaint is not returned
ing a regular grievance.

Mich bait ju SUEZ 3 AHL:
Offender Name _ Offender Number Housing Assignment
(iddicer Thee Le “4 jd OR est Af ow ti hoger foi}
Individuals Involved in Incident Date/ Time of Incident °
[[] Unit Manager/Supervisor (_] Foad Service (CJ Institutiqnal Program Manager
(} Personal Property [_] Commissary [_] Mailroom

[_] Medical Administrator fA Other (Please Specify): Ay pt wiente-

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Briefly explain the nature of your complaint (be specific):
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Offender Signature filly fie Date fh 2 t77 EY
Offenders - D4 Not Write Below This Line
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Date Received: tS fi i i ise Ei if pen Tracking # ACC fi --LVE- ODpeaS”

- oe 3 q tof 7 F 4
Response Due: __/ / -20-J9 : wane 2 =Assigned to dd fp Bueme / L4. 27 tee 5

Action Taken/Response:

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WITHDRAWAL OF INFORMAL COMPLAINT:

[ wish to voluntarily withdraw this Informal Complaint. 1 understand that by withdrawing
I will not receive a response nor will | be able to file any other Informa! Complaint or Grig

r this Informal Complaint,
‘vance on this issue.

Offender Signature: Date:
Staff Witness Signature: Date

Revision Date: 42817 "
eh 3:20-cv-003S0 SFA EWH Dogument 27-2 .
<°3/ DEPARTMENT OF CORRECTIONS Filed 12/28/ 20° Titaizaa cotplaint ager 49

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4 Wake. ke louse. -. Tdgice -— GH -¢- _

Offender/Name : : or

> cap - a ved. ‘Od pent a — 9-2D

Tndividoas Involved in incident - — a ee .
Unit Manager/Suparvisor - + [1 Food Service ~  s )instituti Program Manager

_ [Personal Property .[-)Commistety -. °° [1 Mailroom |

" [-) Medical Administrator {Other (lease Specify): _ -. __

Biiefly explain the nature of Your complaint (be specifi): my 3 c.. .
Thee: adm aiotetve ga Des nok avel salt te

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_ or Jor bet jez os hor poisines dacage.

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Offender Signatare Ge Dato _ Ee 128. . oS .
Offenders i tina Bar This line

Date Received: “b4ooap Lee of S a Tracking # Be Fe pare

Response Due: 14-2090 | EE “48 fo: Dh; Ldgnr: AM -.- De, "

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a Offender Sipnstire: —
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An Informal Complaint is not required for an alleged incident of sexual abuse,

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aS NS ic nt 27.2 Filed +2/28/20 Page 5h of 89 PanalD# 250 7

Informal Complaint

"INSTRUCTIONS FOR KILING: Briefly write yout issue in ie space provided on the I formal Complsint form,
. preferably in ink. Only one issue per Informal Complaint. Place your-complaint in the designated at ot vio

facility. A receipt is issued within 2 working days from the date received if the i miome i MIeL Leet a
during intake, Fino résponse is réceived within 15 calendar days, you may proceed i
You may ulilise yout receipt as evidence of f your atten! to .ssulye your couydabt -

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Weck las gUB/ea 4
Offiader Name Offender Nemnber Hing Ast =
“Tndividuals Involved in fneldent TO Datel Time of Incident =~
~ [Unit Menagen/Supervigor ” ~ [Rood Service - ____  }instititional Program Manager

[] Personal Property , _-[) Commissary. y f- heden Le

[| Medical Administrator Other (Please Specify):. ON:

Beiefly explain the nature of Your ¢ it sien - S|
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_Offenders ~Do Not Writy alow ThisLine FTE

". Date Received: SI- FORO Tracking PACCIO-DUE. (0239
. Response Due: SH lo- 2OXO _: , Assigned to: bar] Ne ntatts, . . .
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> Respntlent Signature «, nN Once uke pre a a , oo L BER Woke,

_ WITHDRAWAL OF INFORMAL. conta wo tA G& . (l-aere
Twish to volustily wire thi noel Connie: I. Sey iin ii Co,
Twill not receive a response nor will [be soto Blomy ofr infonnal org onthisisme. _-
Offender Signature: _. Date:

Stat Witness Signature Date: ™~

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 52 of 89 PagelD# 251

’ AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Mh Muisan Ao e
Plaintiff ;
Civil Action No.
Hee ol iL Clecke « Lire efor “oe
Defendant )

WAIVER OF THE SERVICE OF SUMMONS

To: Make foot pry

(Name of the plaintiff's ateOrney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case. _

I understand that I, or the entity I represent, will keep all defenses or objectio:

to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a i

ons or of service.
I also understand that I, or the entity I represent, must file and serve an answer or a

60 days from , the date when this request was sent (or 90
United States). IfI fail to do so, a default judgment will be entered against me or the entity

otion under Rule 12 within
s if it was sent outside the

- Date:

Signature of the “ or unrepresented party

Printed name of party waiving service of summons Printed name

aabress

E-mail\address

Telephone number

- Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving won expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service| requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an i
no jurisdiction over this matter or over the defendant or the defendant’s property. °

If the waiver is signed and retxned, you can still make these and all other defenses and objections, but you cannot object to the absence of
——~-.-—B-SUDABIORS-GI-OF-SCFVIGE: ——- —- —n- ee eee ee ee

per venue, or that the court has

Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returming the waiver form, you are allowed more time to respond if a summons had been served.

Sc Ca ee

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 54g

S VIRGINIA
ad/__ DEPARTMENT OF CORRECTIONS

of 89 PagelD# 252

egular Grievance 866_F1_ 4-17

‘Warden/Superintendent’s Office: -

‘Date Received: .
‘\

REGULAR GRIEVANCE |
Log Number: _
Lote Merk LEE ba of iz aah ae
[Tndividaats Involved in Incident Date/ Time Lt 1 =29 2
WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Informal Complaint response or
other documentation of informal process.) _ ZAa- Bos few fle lowecha One LOevke _
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What action do you want taken? Depolxs for Z Z pote “as peeabeh!
/eéceiveD 77
MAY 98 2020
Ombudsman sao Unit
Grievant's Signature: rBeces =| = of Bt- 2620 >

_ _ Revision Date: 4/28/17

se 3:20-cv-00 290 HEH-EWH Document 27-2 Filed 12/28/20 Page 54 of 89 PagelD# 253
egular Grievance 366_F1. 4-17

DEPARTMENT OF CORRECTIONS

INSTRUCTIONS FOR FILING: You are required per Operating Procedure 866.1 Offender Griev Procedure to attempt to resolve

“your complaint in good faith prior to filing a regular grievance. You must submit your grievance 30 days from the date of
occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your issue only in the space provided on the
grievance form, preferably.in ink. Regular prievances are submitted through the institutional mail to facility Grievance Office and a

receipt issued within 2 working days from received date if the grievance is not returned during intake.
INTAKE: Grievances should be accepted for logging unless retumed for the following reason(s):

Non-Grievable. This.issue has been defined as non-grievable in accordance with Operating Procedure 866.1.

oO (J Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or procedural errors under the provisions in
Operating Procedure 861.1, Offender Discipline.

(J Matters beyond the control of the Department of Corrections

Ol. _| Does not affect you personally (This issue did not cause you personal loss or harm)
-O Limited. You have been limited by the Warden/Superintendent
Oo More than one issue — resubmit with only one issue

. Expired Filing Period. Grievances are to_be filed within 30 calendar days from date of occurrence/incident, or discovery of ©
Cl- | the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where a more restrictive time frame has
been established im Operating Procedures to prevent loss of remedy or the issue from becoming moot.

Repetitive. This issue has been grieved previously in Grievance #
Inquiry on behalf of other offenders,
Group Complaints or Petitions. Grievances are to be submitted by individuals.

PROCEDURE 861.1 OFFENDER DISCIPLINE

Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals.
| Grievances Filed Regarding Another Institution. This grievance is being returned to you for you to submit to:

C]
CL]
O
oO Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE WITH OPERATING
O
CO
O

: ___ informal Procedure. You have not used the informal process to resolve your complaint

LTH | Request for services_>

| Insufficient Information (Not to include Medical). You need to provide the following information to the Grievance Office

Oo | within 5 days before the grievance can be processed:

. oF Thé issuc in the grievance is different from the issue in the informal complaint . , Doe
Institutional Ombutapanrerance Coordin, Date: | 2 3-AQZO
If-you disagree with this decision, you have 5 calendar days from date of receipt to submit to the Regional
Ombudsman for a review of the intake decision. The Regional Ombudsman’s decision is fi
Regionaf Review of Intake (within 5 working days of receipt)
| The intake decision is being upheld in accordance. with Operating Procedure 866.1 Offender Grievance Procedure.
— 7 The intake decision is being returned to you because the 5.day time limit for review has been exceeded. _
CT The grievance meets the criteria for intake and is beimg returned to the Warden/Superintendent for loggi

epiom Oabutsnax >. [Ve Wi )0er ate

WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. [ understand that by WwitHdrav
there will be no further action on this issue nor will Thea ERED ne in the future on this|issue.

Offender Signature: _ : : Date: _

“Mat 98 2020

Staff Witness:

_ Date!

CentraiRagion Revision Date: 4/28/17

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 55

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20

EXHIBIT 12

Page 54

of 89 PagelD# 255

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 5/ of 89 PagelD# 256

VIRGINIA
DEPARTMENT OF CO

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in a
INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the Informal Complaint form,
preferably in ink. Only one issue per informal Complaint. Place your complaint in the designated area at your
facility. A receipt is issued within 2 working days from the date received if the informa! complaint is not returned
during intake. If no response is received within 15 calendar days, you may proceed in filing a regular grievance.
You may utilize your receipt as evidence of your attempt to resolve your complaint.

An Informa! Complaint is not required for an alleged incident of sexual abuse.

Mh. fi benve FALSE 2. of

Offerfder Name Offender Number Housing Assignment —_,
i ja f G-207/F
Individuals Involved in Incident Date/ Time Incident
[_] Unit Manager/Supervisor {_] Food Service ] Institutional Program Manager
[_] Personal Property {_] Commissary [_] Mailroom
[_] Medical Administrator MM Other (Please Specify): he ost TL or ooo 4
j 77

Briefly explain the nature of your complaint (be specific):
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ip el £, thes pctgodi-eL Fle ase Det fron. fEe Ce bess - ef)

ped tefee gece é bye fi fre.

Cw

4
Offender Signature wf Mee Date G- Agi F

Offenders - Do Not whe Below This Line

Smee,
Peet eae

. |, . Ty ~ wo

Date Received: CO 2 {ot} Tracking # Part G-Tae-colg 96
i.

Response Due: __| — Lit Assigned to: ms Wynn

Action Taken/Response: {

‘Respondent Signature ~ ~ To "Printed Name and Title fp ; Baie ms Veer y

WITHDRAWAL OF INFORMAL COMPLAINT:

I wish to voluntarily withdraw this Informal Complaint. | understand that by withdrawing thig Infoitital Complaiiit,
1 will not receive a response nor will I be able to file any other Informal Complaint or Grievanéé-on this, issue...
| - gg lig Senne  eVaga!
j id. we -7OR . : ce
Date: ip--4 14 Pa Many

Offender Signature: Mf LA
|

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20

EXHIBIT 13

Page 5§

b of 89 PagelD# 257

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 5

ua

VIRGINIA DEPARTMENT OF CORRECTIONS

Disciplinary Offense Report

861.1 A-1

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) of 89 PagelD# 258

Report generated by Cooper, WD
Report run on 11/06/20

18 at 5:19 PM

Case Number. BAGC-2018-0527 Offender Name: Lowe, Mark M

DOC # 1489162 |

Housing: HU3-A-06T

Facillly: Baskerville Correctional Center Reference:
Offense Code: 244 Offense Title: Unauthorized use of facility suppties- tools- equipment or machinery
Offense Date: 11/6/2018 Approximate Time: 10:00 AM Location: NWA - Law Librai

ESC ONO
Provide a summary of the details of the offense (/.e.: who, what, when,

where, and how; any unusual behavior, any physical
immediate action taken — including use of force, etc.)

Oe ee ee err mer

idence and its disposition, and any

On November 2, 2018 | Sgt. WW.P. Hatcher (investigator) was informed of a letter that was typed and sent to the Regional
offender M. Lowe #1489162.A Regional Staff member stated that Legal Court papers are the only documents that can be
is posted in the Law Library. | Sgt. Hatcher comp!
861.1.

feted my investigation on November 6, 2018. Therefore | charge offender

Office in Richmond, Va. by
typed. ft was verified that this rule

M. Lowe per Operating Procedure

x] Investigation Date Completed: 11/6/2018 oO DESCRIPTION CONTINUED ON ATTACHED PAGE
Witnesses: Reporting Officer. Hatcher, WP
Title: Sergeant
Date: 11/6/2018 Time: 10:19 AM____
Officer -In-Charge: Cooper, WD Title: Lieutenant
Of Signature: é;- Date: 11/6/2018 Time: 5:17 py
DVISE! Q Gi

By signing below, you indicate your preference regarding the rights
rights. The following forms are available to the offender UPON REQUEST in each housing unit: Witness Request Form, Dec
and the Reporting Officer Response Form. The offender must submit these request forms to the Hearings Officer within 48-

DO YOU REQUEST A STAFF OR OFFENDER ADVISOR TO ASSIST YOU AT THE HEARING?

indicated. Failure to respond, or Indicate a preference, cq

res

nstitutes a WAIVER of the first three
mentary Evidence Request Form,
of the charge being served.

No [7] REFUSED TO RESPOND

DO YOU WISH TO REQUEST WITNESSES?

Pres C

NO [7] REFUSED TO RESPOND

DO YOU WISH TO REQUEST DOCUMENTARY EVIDENCE?

fof ves oO

q Ne (LJ REFUSED TO RESPOND

DO YOU WISH TO WAIVE YOUR RIGHT TO 24-HOUR PREPARATION TIME PRIOR TO THE HEARING?

Ore &

{wo Ol REFUSED TO RESPOND

DO YOU WISH TO APPEAR AT THE DISCIPLINARY HEARING?

Refusal to appear is an admission of guilt, a walver of witnesses and the fight to a disciptinary
hearing.

Yes o

| Ne [] REFUSED TO RESPOND

YOU HAVE THE RIGHT TO QUESTION REPORTING OFFICER
(in person for Category | Offenses; by submitting a Reporting Officer Response Form for Category I! Offenses)

YOU HAVE THE RIGHT TO ENTER INTO A PENALTY OFFER.

YOU MAY REMAIN SILENT. Silence does NOT constitute an admission of guilt,

THE CHARGE MAY BE VACATED AND RE-SERVED AS A DIFFERENT OFFENSE, WHICH CAN BE A HIGHER, EQUIVALENT OR LES

sSER OFFENSE CODE.

YOU MAY BE FOUND GUILTY OF A LESSER-INCLUDED OFFENSE CODE, IN ACCORDANCE WITH OPERERATING PROCEDURE a61.1

You have been informed of. charges against you, and advised of your rights at the Disciplinary Hearing/
Served and Witnessed By: zh W, fiw Offenders Signature: / oo
Print Name: ER Wi E a 7 Print Name: L, ff Lowe.
Date of Service: dl ‘ 6 ‘A Ol x Approximate Time: / 4 “s_ l
IF OFFENDER REFUSES TO SIGN,SERVING OFFICER WILL CERTIFY REFUSAL:
ADVISOR AT SERVICE OF DOR: SHEA. HEED FORMS PROVIDED AT SERVICE (IF REQUESTED): BYVes OI No

Date of Hearing: 11/13/2018 Revised Date: Revised Date:

Pana 1 nf?

Revised Date:

Rev. 01/01/2016

Case 3:20-cv-00390-HEH-EWHs Dotument 27-2 Filed 12/28/20 Page 60 of 89 PagelD# 259

VIRGINIA DEPARTMENT OF CORRECTIONS
Penalty Offer

861.1 A-2
Report generated by

CaseNumber BACC-2018-0527

Offender Name: _Lowe, Mark M
Reference:

Faciity; Baskerville Correctional Center

Report run on 11/06);

DOC# 14899162 Housin

Cooper, WD
2018 at 5:19 PM

go: «| HUS.A.06T

Offense Code: 244 Offense Tile: Unauthorized use of facility supplies- tools- equipment or machinery

Offense Date: 11/6/2018 Approximate Time: 10:00AM Location: N/A~- Law Library

investigation Complete:

4176/2018

PENALTY OFFER

The available evidence for this case has been reviewed and you are being offered the following penatty:
Penality: 4 - Reprimand - 4 - Reprimand -

Suspended for (if applicable):
[x|ror the charge of: Offense Title:

244 - Unauthorized use of facility supplies- tools- equipment or machine

ly

C] For the Lesser

included Ofténse of:
' Date: 11/6/2018

Lieutenant

Time:

Title:

5

18 PM

OND S F

1) AGGEPT~ By accepting, | understand | will be pleading guilty to the offense
Disciptinary Hearing, including any right} may have to pr ft wilt or other on
have given a statercent against me. | understand that accepting the Penalty Offer ts final, and once | have accepted my Penaity Offer, any ap|
a detemnination of (a) whether there was a guilty plea, {b) whether there
reason for an eppeal will be considered.

Led,

2) DEGLINE — | dectine the Penaity Offer, | wil be afforded a Disciplinary Hearing. | wil have the right to enter a not guilty plea at the hearing
way influence the outcome of the hearing or the severity of any penalty imposed as a result of the hearing.

3) 24 HOURS TO DECIDE. — — | understand that | have 24 hours from the date that the charge is served to accept this offer, and I wil be fi

an advisor, upon request, Any

scheduled for a formal Disciplinary Hearing and wid nal have the option to accept the Penalty Offer prior to the hearing.

specified in the offer and accept the penalty indicated above and
my behaff, as well as any right | may have to a

was an acceptance of a Penalty Offer, ar (c) whether there was any s

staff member, other than the Hearings Officer, can witness the decision.{f | fail fo make a decision In 24 hours,

will waive my right to a

bk questions of anyone who may
beal of this offense will be Emitad to
terfous procedural error. No other

and this Penatty Offer will in no

the opportunity to consult with
1 understand that I wif be

Cl
[_] A ACCEPT the Penalty Offer.

| DECLINE the Penalty Offer. | understand that | will be scheduled for a Disciplinary Hearing.

CI 1 DEFER my decision. | understand that | have 24 hours from the time of service to communicate my intenti
Offer.

By signing below, | acknowigdgé thet? fave been advised of my rig

on to accept the Penaity

Offender Signature:
Staff Signature:

nts: j
: Med bat? con Afb: 18
. ViLLIBHS pate: “TEE: GF

1
IF OFFENDER REFUSES TO SIGN, SERVING OFFIGER WILL CERTIFY REFUSAL:

L4 YS
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me,

al DECISIO' IN OURS OF SEI E

copy to the Hearings Officer within 24 hours from the time of service of the Disciplinary Offense Report and §
Offender Signature: Print Name: Date:
Staff Signature: Print Name: Date:

O 1 ACCEPT the Penalty Offer. NOTE: Offender can have any staff member witness this decision and forward the offender's signed

Penaity Offer.

Time:

Time:

Report run on 11/06/2018 at 5:19 PM Page 1 of 1

Rev. 01/01/2016

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 62 of 89 PagelD# 261

VIRGINIA
DEPARTMENT OF CORRECTIONS ©

Reporting Officer onse Form 861_F4_11-15

Reporting Officer Response Form
caeNumbe: PAC -a0j%- 0727

Offender Name: Marke bose Offender Number: 1494/62| Housing: (27-L
Offense Code: _ Qe} Offense Title: Unaucthge cael seat foes [ij hel>-epuip nec
Offense Date: fofie Approximate Time: jo: 00 LPM Location: fase i brars- LA
PART I- INSTRUCTION: his form is only used for Category. II Offenses. The Reporting Officer| will personally appear at a

hearing for a Category I Offense, If you want to cross-examine the Reporting Officer or a Category I Offense), provide your
questions in the space provided below. It is your responsibility to submit this form to the  L 48-hours of service

of the charge.

Reporting Officer: Sot Hadeher Title’ $9

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1p incichent

Question Hi: | Phase ident by name, sender, recip77end-, date, clo
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[|_|] Relevant - (_] Not Relevant Hearings Officer Initials:

Response #1: |—770 putes Are pastedd sn the Lad Lrbrarg.

Question #2: | Please rdlenti¥7 by nome drthe, address, phone, ALI) or a y coher pep
identifier all pa res persons Hh Knew hebre of 6r wtressel We Mepoofh

yiblatien of peiscy and procedure ANY on Muenber 6, 21%
(_] Relevant (J Not Relevant Hearings Officer Initials:

Response #2: The. mules Are. porte 2 Ube Law Librors,

Question #3: | Please ident+y He Deer Meaduss viebeo sur veiance svete arch video
avchive SY shea acbeninis trator; venter, service provide, and aldvess of

archive SAUICe Pro uy dre
Cl Relevant (Not Relevant vag dees Officer Initials:

Response #3: | +- of, rev have Aeces$ Yo Deep Menclaas ChmernS .

Question #4: ase, ihentt by record pnd ach nowsfedy erent oF anf ft Pain ing
Sen inate fran yand harwledy & of fhe Fieri cut with Ons. foe

Act Jaw Ay Se Hecdcher of ashe vs [fx Covrect on Conk ?

(] Relevant by oh Hearings Officer Initials:

Response: [rhs dees not porta te Hu infection Covy).

‘Reporting Officer's Signature: Print Name: Date:
y ME le

~ OFFENDER'S PLEA AND RIGHTS —

Hearing Location: Baskerville Correctional Center Date:
Plea: CO Guitty [X] Not Guilty [I] No Plea
Advisor at hearing:

Reason for absence/exctusion of the accused offender:

Was the Reporting Officer present at the Disciplinary hearing?
Has there been a denial! of requested witnesses?

Has there been a denial af Documentary Evidence Forms?

Aves [] No
O Yes(L-bfio
1 ves [dene

CO Guilty

O Informal
Resolution

Print Name:

Signature:

DECISION OF THE HEARINGS OFFICER

O Vacated - Offender waived rewrite/reserve of offense

Bd For the charge of: Offense Title: 244 - Unauthorized use of facility supplies- tools- equipment of machinery

INSTIT NAL REVIEW:
pproved [] Dismissed

Print Name: -—ov - Ww ‘ {Nn fehsVf

CI Not Guilty [X] Dismissed

(LI Reduced to Lesser-Inctuded Offense

Service
C1) Reduced Penalty

LC] Vacated for Rewrite/Re-serve

[[] Accepted Pepa Offer within 24 Hours of

(] For the Lesser Offense Title:
included Offense of:
Reason for Decision:
BASED ON OFFENDER PRESENTED EVIDENCE ON JP5 PLAYER LETTER WAS SENT GUT TO SECOND PARTY.
Penalty: 1 - Reprimand - 1 - Reprimand
Hearing Officer's Signature: BOs 7 Date. 1413/2

Jones, VB

[_] Suspended Penalty [_] informal Resolution

018

(1 Reduced Penalty [_] Rehear [_] Reduced to Lesser-Included Offense
[x] For the charge of: Offense Title: 244 - Unauthorized use of facility suppiles- tocis- equipment or machinery
For the Lesser Offense Title: :
Included Offense of: "
- f <- ~
Comments: Yd Varyoaed) 4 Aearene (nae C47
U _ e
Penalty: & CY

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Date:

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Title:

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 64 of 89 PagelD# 263

: VIRGINIA
Sas’ DEPARTMENTOF CORRECTIONS __ Informal Complaint 86653417

informal Complaint
INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the Informal Complaint form,
preferably in ink. Only one issue per Informal Complaint. Place your complaint in the designated area at your
facility. A receipt is issued within 2 working days from the date received if the informal complaint is not returned
during intake. If no response is received within 15 calendar days, you may proceed in filing a regular grievance.
You may utilize your receipt as evidence of your attempt to resolve your complaint.
An Informal Complaint is not required for aut alleged incident of sexual abuse.

Mech bedd¥ i FUILZ- BAlRg
Offender Name . Offender Number | Housing Assignment .
Oidflvex “Jer f «<1 iD: CG asth Al (pt bee fhe ait
Individuals Involved in Incident Date/ Time of Incident é .
[_] Unit Manager/Supervisor (_] Food Service (_] Institutional Program Manager
[_| Personal Property [_] Commissary |_] Mailroorn
(_] Medical Administrator {A Other (Please Specity): Ag pnt tei

Brietly explain the nature of your complaint (be specific): .
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Offender Signature fi L Z po Date f -S47 NG
Offenders - Dé Not Write Below This Line
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Date Received: _/E-As- [7 | RECEIVED Tracking # £ “NE ODSAS™
Response Due: f 1-30-15 : wifes 7 SAsgigned to Lt Buerne, JL ; :

Action Taken/Response: i eee FS Up -

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Respondent Signature Printed Name and Title Date ©

WITHDRAWAL OF INFORMAL COMPLAINT:
| wish to voluntarily withdraw this Informal Compiaint. 1 understand that by withdrawing) this Informal Complaint,
{ will not receive a response nor will I be able to file any other Informa! Complaint or Grievance on this issue.

Offender Signature: Date: _
Staff Witness Signature: __ Date: _

Revision Date: 4/28/17

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 65 of 89 PagelD# 264

COMMONWEALTH of VIRGINIA

‘George Hinkie Department of Corrections a 9503 A Hull Street Road

Regional Operations Chief

vou are within tne 30-da3 tne :

Richmond, Virginia 23236
THLEPHONE: (804) 674-3008
BAX: (804) 674-3021

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 64

informal Complaint

INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the In
preferably in ink. Only one issue per Informal Complaint. Place your complaint in the
facility. A receipt is issued within 2 working days from the date received if the informal c
during intake. If no response is received within 15 calendar days, you may proceed in fil
You may utilize your receipt as evidence of your attempt to resolve your complaint.
An Informal Complaint is not required for an alleged incident of sexual abuse.

VIRGINIA

DEPARTMENT OF CORRECTIONS Inform

b of 89 PagelD# 265

Complaint 366_F3_4-17

formal Complaint form,
designated area at your
omplaint is not returned
ing a regular grievance.

My big 2 LA BGG 2 324 TT
OffenderNee ame Offender Number Housing Assignment
Manager Dibhers £. YL Seal ~ ~ s ~ 200 22)
Individuals el in Incidght Date/ Time Of Incident

-
_{[] Unit Manager/Supervisor Jetkood Service ---
(_] Personal Property . _“{] Commissary » ¢ LJ Mailroo
[_] Medical Administrator Other (Please Specify): Vike
A

(Institutional Program Manager

Briefly explain the nature of your complaint (be {pecific)

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Date Received: -3- 4-2N90) 3 1 Tracking #

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Response Due: 3 19-7920

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Action Takea/Response:

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WY SS WoW te 3/4/2020)
Respondent Signature Printed Name and Title Date ©
WITHDRAWAL OF INFORMAL COMPLAINT: may PEE -
I wish to voluntarily withdraw this Informal Complaint. I understand that by withdrawigg-tHis cose
I will not receive a response nor will I be able to file any other Informal Complaint or Grievan ance On this issue.

Date:

Offender Signature:
Staff Witness Signature:

Date:

OMmbucE

Revision 7 Dale: 4/28/17
Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20

EXHIBIT 14

Food 1580eS

Page 6]

y of 89 PagelD# 266

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 6

3 Of 89 PagelD# 267

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4503- A Hall Sfreet Road
Baskerville Yo A207
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VIRGINIA 5.
DEPARTMENT OF CORRECTIONS 4

REGULAR GRIEVANCE
tee Number
Lowe. — Mask. 4¢er| A+ 7
Last Name, First t Number Building Cell/Bed Number
Dohason , trod Marnay e” /
Individuals Involved in ‘Incident Date/ Time of Incident
Q-a/i-2o

WHAT IS YOUR COMPLAINT? (Provide information from the informal process: Attach Informal Complaint response 0 or

L other documentation of informal process.) Zhe. bes JL anny &, Tod, NS OW nohel fe
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Ombudeman Services Ung
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What action do you want taken? Sancho “95 oF gaih De. 5 APE
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Grievant's Signature: H gee RPECEIVED Wate: OPO CO... ------
Warden/Superintendent’s Office: / F i
Date Received: / FEB 28 2020
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ee men Revision Date: 4/28/17

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 70 of 89 PagelD# 269

VIRGINIA

DEPARTMENT OF CORRECTIONS Informal Complaint 866_F3_+-17

Informal Complaint
INSTRUCTIONS FOR FILING: Briefly write your issue in the space provided on the Informal Complaint form,
preferably in ink. Only one issue per Informal Complaint. Place your complaint in the designated area at your
facility. A receipt is issued within 2 working days from the date received if the informal complaint is not returned
during intake. If no response is received within 15 calendar days, you may proceed in filing a regular grievance.
You may utilize your receipt as evidence of your attempt to resolve your complaint.
An Informal Complaint is not required for an alleged incident of sexual abuse.

Mok Love [4 FUIG2 BAI 7
Offendei\Name _- Offender Number Housing Assignment
Tohn 901 _ tf. Z¢2J-22
Individuals Invotved in Incident Date/ Time of Incident
[_] Unit Manager/Supervisor Frond Service [_] Institutional Program Manager .
[] Personal Property _ Commissary. | [_] Mailrogm
[_] Medical Administrator [_] Other (Please Specify):

Briefly explain the nature of your complaint (be specific):

by He Beshervile lovrechions ben as There us Aodlterna Ave . FAL “ne Hef e—~

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pneichents , itt feos etackecl vetalatron for lee ape Lain.
Offender Signature Date 2-aA/ 2p
low This Line
Date Received: Tracking # ACC dar. OOn7S”
Response Due: Yrn Heke, FED
Action Taken/Response:

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Ombudsman Sentees tig
Teta ao GT sri Whi

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SSA. SYS WW Wwe, Conral Asbien 25 [3082
Respondent Signature Printed Name and Title Date

WITHDRAWAL OF INFORMAL COMPLAINT:

I wish to voluntarily withdraw this Informal Complaint. I understand that by withdrawing |this Informal Complaint,
I will not receive a response tjor welergeay x ther Informal Complaint or Grievance.on this. issue. -

Offender Signature: Date:
Staff Witness Signature: FEB 28 2020 Date:
Dasani vihG ire 3 Revisi D - A28/17
| Department eiston oe

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rR 3: 20- ov: v:00390-4 Hote EWH- Document 27- “2 ‘Filed 12/28/20 Page a Of: 89, PagelD# 270
DEPARIMN oF CoRRECTions , Regular Grievance 866 FI 414

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so aise or
- other documentation of informal process.) i. Bxze _fleeie, assivy a A, : me
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- Ombudemai Services Unit
Central Region . ~~

L comnts Smanre—_ Of, IZ —SETENED, pate 4224-2020
‘Warden/Saperintendent’s O j oo,
Date Received: aA 77 aa —

ho grievance .

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VIRGINIA :
DEPARTMENT OF CORRECTIONS af Regular Grievance 266_F1 417

INSTRUCTIONS FOR FILING: You are reguired per Operating: Procedure 866.1 Offender Grievan e Procedure to 5 attonipt to resolve
your complaint in good faith prior to filing a regular grievance. You must submit your grievance| within 30 days from the date of
‘occurrence or discovery of incident. Only one issue’per grievance will be addressed. Write your issue only in the space provided on the
grievance form, preferably in ink. Regular grievances are submitted through. the institutional mail to the facility Grievance Office and a
receipt issued within 2 working days from received date if the grievance ig not retumed during intake. _

. INTAKE: Grievances should be accepted for logging unless returned for the following reason(s):

Non-Grievable. This issue has been defined as non-grievable in accordance with Operating Procedure 866.1.
{"] Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or procedural errors under the provisions in
Operating Procedure 861.1, Offender Discipline. :
[_] Matters beyond the control of the Department of Corrections

Does not affect you personally (This issue did not cause you personal loss or harm)”
Limited. You have been limited by the Warden/Superintendent
More than one issue —resubmit with only one issue. _- , . os

|) Expired Filing Period. Grievances are to be filed within 30 calendar. basi from date cineca or discovery of

ft

’ the occurrence/incident except in instances: 1) beyond the offender’s, control or, 2) where a|more restrictive time frame has
been established in Operating Procedures to prevent loss of remedy ¢ or. the i issue from b

Repetitive. This issue has been Brieved previously i in 1 Grievance a.
Inquiry on behalf of other offenders. - : 2
Group Complaints or Petitions. Grievatices argo be submitted vf individuals.

Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE E WITH OFLA’ =
PROCEDURE 861.1 OFFENDERDISCIPLINE -~

Photocopy/Carbon Copy. You must submit the original grievance for responses and appeal
Grievances Filed Regarding Another Institution. This grievance is ‘being returned to you for you to submit to:
y

Informal Procedure. You have not used the informal process to resolve your compa
Request for services oo
Insufficient Information (Not to include ie Medical. ‘You need to provide the following inforpation to the Grievance Office
| within 5 days before the grievance can be processed: oo

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Ombudsman Servic

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The i issue in the grievance is different from thei issue in the informal complaint

pa F-23200 20

If you disagree with this decision, you have 5 ‘alendar, days from date of receipt|to submit to the Regional.
Oxabudsman for a review of the intake decision. The Regional Ombudsman’s decision i is final.

" RegiongYReview of Intake (within 5 working days of receipt). . . .
ay The intake decision is being upheld in accordance with Operating Procedure 366, 5 Offender Grievance Procedure.
Oj The intake decision is being retumed to you because the 5 day time limit for review has been exceeded.”

Oo The ievonee meets the tra For ine ant ig ing eto othe Warden/Svperinien for o Bf
” _ .
! Regional Ombudsman: Se AY aa—UA VO Oe LO Date cea

“WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance: I understand that by withdrawing this grievance,
there will be no further action on this issue nor will I be able to file any other grievance in the future on tt issue.

_ -Offénder Signature: __ . Date;
Staff Witness: OO ____ Datel”

| Insttitional ‘Ombud man Grievance Coo dipsfor: '

Revision Date: 4/28/17
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RoShs:20-<v-00390IRFNAE WH Document.

27-2%Filed 12/28/20 Pg
DEPARTMENT OF CORRECTIONS

Comipfatnt Vea erage

OffenderName _; ; | Offender Number Foust

Individuals Involvedin Incident

[] Unit Menager/Supervisor -. - [A®ood Service ° ‘ [) Institutional Program Manager

... [) Personal Property . issaty - °°
‘ [1 Medical Administrator Cloter (Please Specify);

Biisfly explain the nature of your complaint (be spacific):

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Offenders - Do Not White Below This Line
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Dats Y — ff 20.

_ Date Received: - . . _ Co Tracking #
Response Due:

Assigned to: -

‘Action Taken/Response:

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Respondent Signature — "+ Printed Name and Tifle

WITHDRAWAL OF INFORMAL COMPLAINT:

T wish'to Voluntarily withdraw this Informal Complaint, I
I will not receive a response nor will Lbe-ntig tafe

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Staff Witness Signature:

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 7

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4 of 89 PagelD# 273

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed’12/28/20 Page 75 of 89 PagelD# 274

VIRGINIA
DEPARTMENT OF CORRECTION

INSTRUCTIONS FOR FILING: You are required per Operating Procedure 866.1 Offender Grievance
your complaint in good faith prior to filing a regular grievance. You must submit your grievance
occurrence or discovery of incident. Only one issue per grievance will be addressed. Write your issue 0}
prievance form, preferably in ink. Regular grievances are submitted through the institutional mail to the
receipt issued within 2 working days from received date if the grievance is not returned during intake.

Procedure to attempt to resolve
ithin 30 days from the date of
hly in the space provided on the
facility Grievance Office and a

INTAKE: Grievances should be accepted for logging unless returned for the following reason(s):
Non-Grievable. This issue has been defined as non-grievable in accordance with Operating Procedure 866.1.
Oo (J Disciplinary Procedure. You may appeal hearing decisions, penalties, and/or proceduralerrors under the provisions in
Operating Procedure 861.1, Offender Discipline.
y_| (Matters beyond the control of the Department of Corrections
WwW Does not affect you personally (This issue did not cause you personal loss or harm)
——* [[] ~~] Limited. You have been limited by the Warden/Superintendent
0 _More than.one issue — resubmit with only one issue - ° [oo eee -—
Expired Filing Period. Grievances are to be filed within 30 calendar days from date of occurrence/incident, or discovery of
CT the occurrence/incident except in instances: 1) beyond the offender’s control or, 2) where a more restrictive time frame has
been established in Operating Procedures to prevent loss of remedy or the issue from becoming moot.
Oo Repetitive. This issue has been grieved previously in Grievance #
CJ Inquiry on behalf of other offenders.
CJ Group Complaints or Petitions. Grievances are to be submitted by individuals.
oO Vulgar/Insolent or Threatening Language. YOU MAY BE CHARGED IN ACCORDANCE |WITH OPERATING
. PROCEDURE 861.1 OFFENDER DISCIPLINE =
oO Photocopy/Carbon Copy. You must submit the original grievance for responses and appeals. OQ o
oO Grievances Filed Regarding Another Institution. This grievance is being returned to you for you to submibty SY = <
Ca 3
mot ery a
CJ Informal Procedure. You have not used the informal process to resolve your complaint He _ c a
oO Request for services i = Ee
=
~ Insufficient Information (Notto include Medical)_You-need to. provide-the following informition to the Béevance Office _-
OC __| within 5 days before the grievance can be processed: : a “& ~
LJ- -| The issue in the grievance is different from the issue in the informal complaint Loe
Institutional Ombudsmz Date:|(A-WP- VIGO

If you disagree with this “decision, you have 5 calendar days from date of receipt
Ombudsman for a review of the intake decision. The Regional Ombudsman’s decision is

o submit to the Regional
al. :

RegionaReview of Intake (within 5 working days of receipt)

gD rey The intake decision is being upheld in accordance with Operating Procedure 866.1 Offender

Grievance Procedure.

The intake decision is being retumed to you because the 5 day time limit for review has been

exceeded.

aw

oO The grievance meets the criteria for intake and is being returned to the Warden/Superintende:

t for logging.

Date:

| Regional Ombudsman: 3 j M be - bi thenr

WITHDRAWAL OF GRIEVANCE: I wish to voluntarily withdraw this grievance. I understand that b}

there will be no further action on this issue-nor-will I be able to file any other grievance in the future on

Offender Signature:

Staff Witmess:

Date:

Date:

3/13/2020 |

withdrawing this grievance, .
s issue.

2 of 2

Revision Date: 4/28/17

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Ook eke Memornn led 12/28/20

Page 7

5 of 89 PagelD# 275

Case 3:20-cv-00390-HEH-EWH Documen 3

IM.2/28/20 Page 7

COMMONWEALTH OF VIRGINIA

Department of Corrections
Division of Institution

Earl R. Barksdale BASKERVILLE CORRECTIONAL CENTER
Warden

July 2, 2020
TO: OFFENDER POPULATION

FROM: Earl Barksdale Warden (signature on file)

SUBJECT: Drinking Water Restriction

Baskerville Correctional Center has been informed by the county that a wate

Effective July 3, 2020 at 12:00 a.m. offenders are required to refrain from ds
unless it is boiled. This mandate is in effective until Monday July 6, 2020.

Drinking water will be delivered to each housing unit effective tonight at 12

Warden Barksdale
Assist. Warden Boone
Major D. Hamlette
Unit Manager D. Wynn
IPM J. Fields
Operations G. Bugg
Watch Office

cc:

of 89 PagelD# 276

4150 Hayes Mill Road
Baskerville, Va., 23915

ir line has busted.
inking the water

00 a.m.

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Docu
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CWC rea

yes 12/28/20

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‘Page 7

B Of 89 PagelD# 277

Case 3:20-cv-00390-HEH-EWH Documen 2/28/20 Page 79 of 89 PagelD# 278

COMMONWEALTH OF VIRGINIA

Department of Corrections
Division of Institution

Earl R. Barksdale BASKERVILLE CORRECTIONAL CENTER | 4150 Hayes Mill Road
Warden Baskerville, Va., 23915
July 2, 2020

TO: OFFENDER POPULATION

FROM: Earl Barksdale Warden (signature on file)

SUBJECT: Drinking Water Restriction

Baskerville Correctional Center has been informed by the county that a water line has busted.
Effective July 3, 2020 at 12:00 a.m. offenders are required to refrain from drinking the water

unless it is boiled. This mandate is in effective until Monday July 6, 2020.

Drinking water will be delivered to-each housing unit effective tonight at 12:00 a.m.

cc: Warden Barksdale
Assist. Warden Boone
Major D. Hamiette
Unit Manager D. Wynn
IPM J. Fields
Operations G. Bugg
Watch Office

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 80 of 89 PagelD# 279

iy ~~ ue
VIRGINIA
: Y gency Grievance 866_F4_4-16

DEPARTMENT OF CORRECTIONS

Emergency Grievance Log #
Emergency Grievances are provided for offender reporting and expedited staff responses to allegations that an offender is subject to
a substantial risk of i imminent sexual abuse and to situations or conditions which may. subject.th

-offender t ediate risk of
serious personai injury or irreparable harm. A
Mewk Lowe. [YU S¢/62.__ shan Jf l. vehons

Offerder Last Name First / Number Facility ’ ‘Building-Cell/Bed
PART A- OFFENDER CLAIM
What is the emergency? 7fip kecal tf) pas Bevech a tober Cineepracl VOMCE
Zely 2, 2020, The wekv sf net bem kebfe, the Tekee pes P—
be be lel the crc cL ft ps germ ingtind poe fe
Bo Molde ye anct rel bing fe feu fe. bepee CA rake Loken.
The. merdeat regres teds|/me hd cous ndtZ Ler-e cep Ay SC rvTOG_S
Ned cal nes 4 "The Sfebht Aas & pwherfou hestve ace yer io gov s,

TWely 2, 2022
Date/T tne Offender Sign; d {Number
PART B- STAFF RESPONSE/
— (This part is to be completed and returned to the offender within eight (8) hours.)

Your grievance does not meet the definition for an emergency. Action Taken/Recommended:
_] Submit Informal Complaint [[] Evaluated by Medical: Date Seen
[_] Submit Sick Call Request [_] Send an Offender Request To:

[_] Submit Request to Dental [_] Other (Provide detailed explanation belbw)

[| Your grievance has been determined to be an emergency and the following action has been taken:
[] Sent to Hospital: Date Transported [_] Other (Provide detailed explanation below)

L3doyy ont Ma A Maller

Date/Time Réspondent Signature Name/Title Printed

C] PREA - Alleged incident of sexual abluse or sexual harassment; Shift Commander, Facility Unit Head or
Administrative Duty Officer, and facility PREA Compliance Manager notified

Alleged sexual abuse or sexual harassment [ Will be referred for Investigation

Determination by:

Signature Name/Title Printed Date/Time
Distribution: Original Grievance returned to Offender, Copy forwarded to Institutional Ombudsman/Grievance Coordinator

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 81 of 89 PagelD# 280

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COMMONWEALTH cf VIRGINIA

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SelM

April 1, 2020 (Revision)
March24-2020
March 24,2020

MEMORANDUM

To: Inmate Population

if Cha Spe.
From: Harold W. Clarke , ~

Director of Corrections

Subject: COVID-19 Sneeze Guards

Virginia Department of Corrections continues to be proactive in providing resources for our staff
and inmate population. While the Sneeze Guard will not avoid exposures to all hazards, it will
provide an added level of protection and should provide an additional level of comfort.

Two Sneeze Guards were provided to each inmate. All inmates are now required to wear their
Sneeze Guards at all times unless instructed to remove it by a staff member. Each inmate
will be responsible for maintaining and laundering their provided guards. In the event the Sneeze
Guard becomes unserviceable, inmates may request a replacement mask from their Unit Manager.

Please follow the procedure for proper application of the Sneeze Guard:
e Wash hands prior to putting on the guard
° Place the seam upward with the seam on the bridge of the nose
* Place the loop over the head, resting on the ears
e Wash hands after removing the guard

e Used guards shall be treated as infectious and laundered daily using hot water and LOW
heat settings.

The Sneeze Guard is providing an added level of protection but should not be worn in place of PPE
in situations where PPE is required. Sneeze Guards are not considered PPE since their capability
to protect is unknown.

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 82 of 89 eer B 1

COMMONWEALTH of VIRGINIA
Departinent of Corrections
Mack A. Bailey, Jr. Lunenburg Correctional Center

Warden 690 Falls Road

Viecoria, VA 2397 ne 5u
EEE G96 LOLS

TO: Inmate Population “2

FROM: M. A. Bailey. Warden oo

SUBJECT: PureWash Pro Laundry System

Over the past week my office has reecived numerous correspondence concerming the usage of hot/cold
water when doing laundry.

In accordance with the manufacturer, the pure Wash Pro system cleans clothes with the disinfecting power
of oxvgen, not detergent. It is clinically proven to eliminate 99.9% of bacteria and mold and requires
only Cold water. Below is a diagram of how the pureWash Pro works:

pureWash Pro creates o7zose bv using a smail electrical spark rhat takes a simple O2 mofecule and creates
an O3 molecule, The third oxygen atom is weaker. and quickly seeks out bacteria, viruses. or other
contaminants to ailach jisellf to. Once the single oxygen atom binds itself io the cell of the contaminant, it
immediatly destroys it, This powerful oxidation process cleans and destroys bacteria. njold. odors,
Stains, viruses. parasites, oils, greases. and orgasie soils. The ozone then reverts back to jpure oxygen and

disappears without a trace of ever being used.

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Page 84

of 89 PagelD# 282

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ie Sase-3-26-CV-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 84 of 89 Pa

83°
ee

PtName: LOWE, MARK

MRN: 4623271 Reg Dt: 7/31/2020 CU Health.

FIN#: 706802276761 Disch Dt: 8/3/2020

VU Medica! Cenier
Richmond, Vircirita

Document Type: ED Provider First Contact Date/Time: 7/31/2020 14:22 EDT
Electronically Signed .
By:

ED Provider First Contact
07/31/20 14:22 EDT Performed by SAUER MD, JEREMY [I
Entered on 07/31/20 14:22 EDT

ED Provider First Contact

ED Provider First Contact 07/31/20 14:22
Document Type: Emergency Department Visit Note Date/Time: 7/31/2020 16:26 EDT
Electronically Signed ROBERTS PA,LAURA M (7/31/2020 18:43 EDT); ROBERTS PA,LAURA M (7/31/2020 17:47
By: EDT); TROENDLE MD,MICHELLE M (7/31/2020 17:27 EDT); ROBERTS PA,LAURA M

(7/31/2020 17:19 EDT); Smith SCRIBE, Derek M (7/31/2020 16:47 BDT); ROBERTS PA,LAURA
M (7/31/2020 16:29 EDT)

Trauma *ED

Patient LOWE,MARK = MIN: 4623271 FIN: 706802276761
Age: 49years Sex: M DOB: 03/22/1971
Associated Diagnoses: None

- Author: ROBERTS PA, LAURA lM

Basic Information
Time seen: Date & time 07/31/20 16:26:00.
History source: Patient.
Arrival mode: Private vehicle.
History limitation: None.
Additional information: R jaw fx.

History of Present Iliness
MARK LOWE is a 49 y/o incarcerated male with no PMHx who presents ambulatory to BR c/o R jaw pain beginning
this morning. Patient reports he was hit in the R side of the face with a padlock around 0600}this morning. Denies LOC.
Patient reports constant jaw pain since the incident, with difficulty opening his mouth. Denies any other injury sustained
during the incident. Patient specifically denies any fevers, chills, nausea, vomiting, chest pain, shortness of breath,
headache, rash, diarrhea, abdominal pain, urinary/bowel changes, sweating or weight loss. Patient has no further
complaints.

Review of Systems .
Constitutional symptoms: No fever, no chills.

Printed: 9/30/2020 09:19 EDT Medical Record Copy Report Request ID: 183673063
Page 2 of 22 ,

Case 3:20-cv-00390-HEH-EWH

PtName: LOWE, MARK

MRN: 4623271 Reg Bt: 7/31/2020

FIN #: 706802276761 Disch Dt: 8/3/2020 VCU
Richr

Document 27-2 Filed 12/28/20 Page 85 of 89 PagelD# 284

VCUHeaIth.

Viedica! Center
rend, Virginia

Patient Name: LOWE, MARK
Procedure Date: 08/03/2020

MR#: 462327

—_

PRIMARY SURGEON: Christopher Kandl, MD

ASSISTANT SURGEON: Michael Bauschard MD.

PROCEDURES PERFORMED:

1. Maxillomandibular fixation.

2. Open reduction, internal fixation of right mandibular angle fracture, via submandibular appr
FINDINGS:

1. Right angle fracture

2. Good return to baseline occlusion, status post open reduction and internal fixation.

ESTIMATED BLOOD LOSS: 30 mL.

FLUIDS: 1200 mL.

URINE OUTPUT: No Foley.

SPECIMENS REMOVED: None.

POSTOPERATIVE DIAGNOSIS: Right mandibular angle fracture.

INDICATIONS FOR PROCEDURE: Mr. Mark Lowe is a 49-year-old male inmate, who was struck

oach.

with a fist and suffered

matecclusion afterwards. He was found to have a fracture of the angle of his right mandible. He agrees to the risks and

benefits of surgery to help improve his occlusion and reduce trismus.

DESCRIPTION OF PROCEDURE: Patient was met in the preop holding area, at which time the history and physical were

updated. He was brought to the operating room, placed supine on the operating table, and gener
induced. The patient was nasotracheally intubated without difficulty. The patient was rotated 90
team. Dr. Kandl then performed an operative time-out, at which time he verified the patient's site
procedure.

We ist inserted Karlis screws just medial to the upper and lower canine teeth, a total of four.

We then turned our attention to the right neck. We made an approximately 4 cm wide horizontal i
fingerbreadths inferior to the angle of the mandible. We dissected down through the skin with a #
down further with Bovie electrocautery through the fat and platysmal planes. We then identified th
We dissected through this, identifying the facial vein and fascia overlying the submandibular glan
inferior to the submandibular gland, as well as the facial vein, and reflected this upwards, preservi
mandibular nerve.

| anesthesia was

degrees to the ENT

laterality, and

ncision, approximately 2
15 blade, dissecting

ne deep investing fascia.
d. We divided the fascia
ng the marginal

Printed: 9/30/2020 09:19 EDT Medical Record Copy

Page 11 of 22

Report I

Request ID: 183673063

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Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 8¢

PtName: LOWE, MARK

MRN: 4623271 Reg Dt: 7/31/2020

FIN #: 706802276761 Disch Dt: 8/3/2020 VCU
Richr:

of 89 PagelD# 285

VCU Health.

Medical Center

ond, Virginia

We were then able to visualize the inferior border of the mandible. We bovied the overlying fasc
We were then able to dissect, with a #9 dissector, the soft tissues adherent to the lateral borde
our fracture site. This gave us excellent visualization of the fracture line, including the ramus of

ia overlying the mandible.
of the mandible overlying

In mandible and 3 om of

bone anterior to the fracture. We used a 6-hole, with a middle span or gap, 2 mm thickness plate for fixation. We placed
this over the fracture line.

We then turned our attention back to the oral cavity, where we placed the patient in maxillomandibular fixation using
24-gauge wires and our previously inserted Karlis screws, until the patient's occlusion appeared to be consistent with his
baseline. Per the patient's history, the patient said he had an underjet, and his wear facets were consistent with this. We
found we obtained apparent baseline occlusion with his molar teeth with a class III occlusion upon placing the

maxillomandibular fixation.

We turned our attention back to our exposed mandible via the neck incision. We locked our plat

onto the mandible using

a clamp and we drilled holes for our screws. We placed the appropriate length screws to achieve bicortical fixation of our

plate, placing 3 screws on either side of the fracture line, for a total of 6 screws. We could appre
of the screws and tight fixation of our fracture, as well as an excellent reduction of the exposed f

We turned our attention back to the oral cavity, where we removed our 24-gauge wires and took
maxillomandibular fixation. We then ranged his jaw, and found that his occlusion was still at his
this, we were satisfied with our reduction.

ciate excellent purchase
racture line.

the patient out of
preinjury baseline. With

We closed our neck surgical bed, placing sutures in the deep fascia, followed by deep dermal sutures, and a running 5-0
continuous fast gut suture to close the skin. The Karlis screws were removed using a screwdriver. This concluded the

procedure.

Patient was turned back to the anesthesia team for successful emergence and extubation at the
transported to the PACU in stable condition.

Michael James Bauschard, MD

MJB/MedQ D08/03/2020 T08/03/2020 R
J733635/888364823

HERE REE ETEK EE RRERE EEE EEO IO IC ITE IOI O III IO IH I I OEIII TOR I rE

end of the case. He was

Printed: 9/30/2020 09:19 EDT Medical Record Copy

Page 12 of 22

Report

Request ID: 183673063

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 87 of 89 PagelD# 286

PtName: LOWE, MARK
MRN: 4623271
FIN #: 706802276761

Reg Dt: 7/31/2020
Disch Dt: 8/3/2020

PVCU Health.

VCU Medica! Cenzar
Richmond, Virginia

Document Type: Emergency Depart Summary
Electronically Signed Wilson RN,William T (7/31/2020 20:13 EDT); Wilson RN,William T (7/31/2020 20:11 EDT);
By: Wilson RN, William T (7/31/2020 19:05 EDT)

Emergency Depart Summary

VCU/MCV Emergency Department Depart Summary

PERSON INFORMATION

Name LOWE, MARK
Sex M

Marital Status Divorced
MRN 4623271

Visit Reason jaw injury/tx
Enc Type IP

Teack Group ED
Tracking td 169398080
Discharge

TRAUMA ALERT:
Address:

4150 HAYES MILL RD BASKERVILLE Virginia 23915
PROVIDER INFORMATION

Provider Role

SAUER MD, JEREMY T Provider in Triage
Wilson RN, William T ED Nurse
ROBERTS PA, LAURA MED Resident

POWERFORMS

ED Dispo, Disposition: Inpatient

Age 49 Years

Language English

Phone 4344473857

Visit Id 1642378

Specialty

Med Service IP-Otolaryngclegy

~ ED Arrival 07/91/20 14:08:00

ED Checkout 07/31/20 20:11:45
Aculty 3-Semi-Urg

Assigned

07/31/20 14:22:25
07/31/20 15:53:43
07/31/20 16:20:02

Date/Time: 7/31/2020 20:13 EDT

DOB 02/42/1971

PCP SELF MD, REFERRED

Time Zone America/New_York

Acct # 706802276761

Referred by ED-Community Memorial Hospital
Dispo Type

LOS 000 06:05

Attending MD KANDL MD, CHRISTOPHER J
Reg Status F-Full Reg Done

Unassigned

Printed: 9/30/2020 09:19 EDT

Medical Record Copy
Page 13 of 22

Report Request ID: 183673063

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 88 of 89 PagelD# 287

Pt Name: LOWE, MARK f=
MRN: 4623271 Reg Dt: 7/31/2020 ee Vi U [4 Ca Ith.

FIN #: 706802276761 Disch Dt: 8/3/2020

tadicai Center
Richmond, Virginia

Implanted

Open Reduction Internal Fixation Mandibl
Mandible

6 HOLE CURVED PLATE (92-20536) 08/03/2020
SCREW LEIB LCKNG 2.0X8MM 5020508 (2), 08/03/2020
SCREW LEIB LCKNG CROSSPIN 2.0X12MM 5020512 08/03/2020
SCREW LEIB LCKNG TITAN! 2.0X10MM 5020510 (2), 08/03/2020
SCREW LEIB LCKNG TITANIUM 2.0X6MM 5020508 08/03/2020
Removed
Mandible

* SCREW 8MM MXLMNDB BONE TI (5020358) (4}, 08/03/2020

eo # @ .

Vefolvereyarclmistielasercicele

Call your doctor if you have changes in your mental health status (unusual behavior, confusion, feelings or thoughts of suicide). You may
also call the National Suicide Prevention Lifeline. This is a 24-hour, toll-free suicide prevention service available to anyone in suicidal
crisis. If you need help, please dial 1-800-273-TALK (8255). You will be routed to the closest possible crisis center in your area.

If you have heart failure foltow the instructions from your provider. Remember to weigh yourself every morning after you go to the
bathroom and write the result in a daily lag. If you gain 4-5 pounds or more in a week, call your doctor.

If you or a member of your household currently smoke, or have smoked within the past 12 months, you and/or your household member
are advised to quit smoking. Please ask your healthcare provider for more information. For further resources in the community visit the
Smoke-Free Virginia website (www.smokefreevirginia.org) or call 1-877-856-5177.

sxe [Urershevelamiifcitsia tel ts

Mandibular Fracture

A mandibular fracture is a break in the jawbone. Surgery is often needed to put the jaw back in the right position. Wires may be placed
around the teeth to hold the jaw in place while it heals.

Printed: 9/30/2020 09:19 EDT Medical Record Copy Report
Page 20 of 22

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equest ID: 183673063

Case 3:20-cv-00390-HEH-EWH Document 27-2 Filed 12/28/20 Page 89 of 89 PagelD# 288
PtName: LOWE, MARK

|
MRN: 4623271 Reg Dt: 7/31/2020 ir VCU H Ca It h.

FIN #: 706802276761 Disch Dt: 8/3/2020 VCU Medica! Center
Richmond, Virginia

ASSP A ASSCIATES, fH, SUNS

HOME CARE

« Put ice on the injured area.

—46 Put ice in a plastic bag.

—46 Place a towel between your skin and the bag.

—46 Leave the ice on for 15-20 minutes, 03-04 times a day. Do this for the first 2 days.
Only take medicines as told by your doctor.

Eat soft or liquid foods as told by your doctor. Eat plenty of protein.

If your jaws are wired, follow your doctor's directions for wired jaw care.

Sleep on your back to avoid putting pressure on your jaw.

Avoid exercising so hard that you become short of breath.

eo © #© @ @

GET HELP RIGHT AWAY IF:

* You have a fever.

« You have trouble breathing.

* You feel like your airway is tight.

¢ You cannot swallow your spit (saliva).

« You make a high-pitched whistling sound when you breathe (wheezing).
* You have a bad headache or lose feeling in your face (numbness).
* You have bad jaw pain that does not get better with medicine.

* Your jaw wires become loose.

* You feel sick to your stomach (nauseous) or worried (anxious).

* Your puffiness (swelling) ar redness gets worse.

MAKE SURE YOU:

* Understand these instructions.

* Will watch your condition.

* Will get help right away if you are not doing well or get worse.

This information is not intended to replace advice given to you by your health care provider. Make sure you digcuss any questions you
have with your health care provider.

Printed: 9/30/2020 09:19 EDT Medical Record Capy Report Request ID: 183673063
Page 21 of 22

